Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 1 of 96




  EXHIBIT 2
       Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 2 of 96
             Case 1:16-cv-10724-FDS           Document 59   Filed 06/06/17 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


                                                 )
LINCOLN-SUDBURY REGIONAL                         )            Civil Action
SCHOOL DISTRICT,                                 )            No. 16-10724-FDS
                                                 )
                                 Plaintiff,      )
V.                                               )
                                                 )
MR. AND MRS. W,                                  )
                                                 )
                                 Defendants.     )



                 LINCOLN-SUDBURY REGIONAL SCHOOL DISTRICT'S
              MOTION FOR SUMMARY JUDGMENT FOR ATTORNEYS' FEES


           Pursuant to Federal Rules of Civil Procedure, Rule 56, and 20 U.S.C.

1415(i)(30(B)(i)(III), Lincoln-Sudbury Regional School District (Lincoln-Sudbury) moves for

summary judgment for an award of attorneys' fees against Mr. and Mrs. W in the amount of

$155,606.50, through April 30, 2017, plus related costs and expenses in the amount of $4,341.74,

through March 31, 2017, on the grounds there is no genuine dispute as to the material issues of

fact that:

           (1) Lincoln-Sudbury prevailed on all issues at the BSEA;

           (2) the BSEA proceeding brought by Mr. and Mrs. W was frivolous and brought for an

improper purpose; and

           (3) Lincoln-Sudbury paid said fees and costs to defend Bureau of Special Education

Appeals (BSEA) Docket No. 1502427, to pursue this claim for fees, and to defend Mr. and Mrs.

W's counterclaim appealing from the BSEA Decision in Docket No. 1502427; and

Lincoln-Sudbury is entitled to judgment as a matter of law.



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      Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 3 of 96

          Case 1:16-cv-10724-FDS         Document 59      Filed 06/06/17    Page 2 of 2




       Lincoln-Sudbury also moves that it be permitted to seek additional fees incurred from

May 1, 2017, and costs from April 1, 2017, through the end of this litigation.

       This motion is based upon the pleadings and papers on file herein and is supported by the

Memorandum in Support of Lincoln-Sudbury Regional School District's Motion for Summary

Judgment for Attorneys' Fees, the Concise Statement of Undisputed Materials Facts in Support

of Lincoln-Sudbury Regional School District's Motion for Summary Judgment for Attorneys'

Fees, the Affidavit of Counsel for Lincoln-Sudbury Regional School District in Support of its

Motion for Summary Judgment for Attorneys' Fees with Exhibits A, B, and C; the Affidavit of

Jeffrey M. Sankey; the Affidavit of Michael J. Joyce, Esq. in Support of Lincoln-Sudbury

Regional School District's Motion for Summary Judgment for Attorneys' Fees, and the Affidavit

of Attorney Mary Ellen Sowyrda in Support of Lincoln-Sudbury Regional School District's

Motion for Summary Judgment for Attorneys' Fees which are filed herewith.

       DATED at Quincy, Massachusetts this 6th day of June, 2016.

                                             Lincoln-Sudbury Regional School District,
                                             By its attorney


                                             Isl Doris R. MacKenzie Ehrens
                                               Doris R. MacKenzie Ehrens, Attorney at Law
                                               BBO #544252
                                              300 Crown Colony Drive, Suite 410
                                               Quincy, MA 02269-1923
                                               (617) 479-5000


                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 6th day of June, 2017, I served a copy of the
foregoing electronically through the CM/ECF system on all counsel of record for the parties.


                                      Isl Doris R. MacKenzie Ehrens
                                          Doris R. MacKenzie Ehrens


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       Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 4 of 96
          Case 1:16-cv-10724-FDS            Document 57    Filed 06/06/17 Page 1 of 6



                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                               )
LINCOLN-SUDBURY REGIONAL                       )
SCHOOL DISTRICT,                               )              Civil Action
                                               )              No. 1: 16-CV- I 0724-FDS
                               Plaintiff,      )
V.                                             )
                                               )
MR. AND MRS. W.,                               )
                                               )
                               Defendants      )
WALLIS and                                     )
MR. and MRS. W.,                               )
                                               )
               Plaintiffs-in-Counterclaim      )
V.                                             )
                                               )
LINCOLN-SUDBURY REGIONAL                       )
SCHOOL DISTRICT and                            )
                                               )
BUREAU OF SPECIAL EDUCATION           )
APPEALS,                              )
          Defendants-in-Counterclaim.)


     MEMORANDUM OF LAW IN SUPPORT OF MRS. AND MRS. W'S MOTION FOR
      SUMMARY JUDGMENT ON PLAINTIFF'S CLAIM FOR ATTORNEY'S FEES

I.      INTRODUCTION

        This action was initiated by Lincoln Sudbury Regional School District ("District"). In its

complaint the District seeks to recover its attorney's fees, costs and expenses incurred in the

administrative proceeding before the Massachusetts Bureau of Special Education Appeals

("BSEA). After a multiple day hearing the BSEA issued a decision in favor of the District on all

remaining issues and included findings that Mr. and Mrs. W's claim was frivolous, in bad faith,

and brought for improper purposes. Mr. and Mrs. W answered denying the foregoing findings

and, together with their daughter Wallis, counterclaimed asserting, among other matters, that
      Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 5 of 96
          Case 1:16-cv-10724-FDS          Document 57      Filed 06/06/17     Page 2 of 6




Wallis was categorically disabled due to a concussion she had suffered during a high school

varsity field hockey practice and that the District had failed to comply with the Child Find

mandate requiring that she be evaluated for special education services due to her categorical

disability, failed to develop an Individual Education Plan or Section 504 Plan and are entitled to

reimbursement for tuition and related expenses that they incurred from their unilateral placement

of Wallis at Lawrence Academy. The BSEA was added as a defendant on the counterclaim.

        The facts on which the movants rely are set forth in the Statement of Material Facts in

Support of Mrs. and Mrs. W's Motion For Summary Judgment On Plaintiff's Claim For

Attorney's Fees and Wallis And Mrs. And Mrs. W's Motion For Summary Judgment On Their

Counterclaims filed concurrently with this Memorandum and incorporated herein by reference.

These and additional relevant facts are set forth and discussed, where appropriate, in the

argument sections below.

        The movants also incorporate by reference the arguments set forth in the Memorandum

Of Law In Support Of Wallis And Mrs. And Mrs. W's Motion For Summary Judgment On Their

Counterclaims filed concurrently with this Memorandum.

11.     SUMMARY JUDGMENT STANDARD

        On appeal to the district court from a decision of the BSEA, the court's review falls

somewhere between the highly deferential standard or clear error normally afforded

administrative decisions and a de-nova review. Sebastian M v. King Philip Regional School

Dist., 685 F.3d 79, 84 (1st Circ. 2012). The district court is to review the administrative record,

as supplemented by additional evidence from the parties, and based on a preponderance of the

evidence make an independent decision while giving due weight to the hearing officer's factual

findings. Id The court may accept or reject all or any part of the findings so long as the court




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       Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 6 of 96
           Case 1:16-cv-10724-FDS         Document 57       Filed 06/06/17     Page 3 of 6




considers and gives due weight to the hearing officer's findings. Ross v. Framingham School

Committee, 44 F .Supp.2d l 04, 111 ( I st Circ. 1999). However, before reviewing the hearing

officer's factual findings, the district court must review and determine, de novo, whether there

were errors of law, including interpretation of state law, that would impair the validity of the

factual findings: "An evaluative "finding" on a mixed legal-factual issue cannot stand if it is

premised on an error of law. Id. at 111-12.

        Summary judgment in the IDEA context is substantively an appeal from the

administrative decision and contested issues of material fact does not preclude an award of

summary judgment. Sebastian M, 685 F.3d at 84-85. And unlike the usual motion for summary

judgment, in the IDEA context the non-moving party is not entitled to the normal inferences in

its favor. Id.

III.    ARGUMENT

A.      THE DISTRICT CANNOT MEET ITS BURDEN TO SHOW THAT THE
        PARENTS CLAIM WAS FRIVOLOUS OR BROUGHT WITH IMPROPER
        PURPOSE

        Under the IDEA, in rare circumstances a prevailing school district may recover its

attorney's fees. R.P. ex rel. CP. v. Prescott Unified School Dist., 631 F.3d 1117, 1124 (9th Cir.

2011 ). The IDEA provides that a school district can recover fees from a parent where "the

parent's complaint or subsequent cause of action was presented for any improper purpose, such

as to harass, to cause unnecessary delay, or to needlessly increase the cost of litigation." 20

U.S.C. l 415(i)(3)(B)(i)(III). But to prevail, a school district must prove that the parent's claim

was brought for both an improper purpose and that it was frivolous. Prescott, 631 F .3d at 1124;

Doe ex rel. Doe v. Attleboro Public Schools, 960 F.Supp.2d 286, 303 (D. Mass. 2013). Where a

claim is not frivolous or without merit it is also necessarily not improper. Id. It does not matter




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      Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 7 of 96
          Case 1:16-cv-10724-FDS          Document 57       Filed 06/06/17     Page 4 of 6




that the parents' claim was not successful; so long as they introduced some plausible evidence in

support of their claim that would have entitled them to relief, the case is per se not frivolous and

cannot support an award of attorney's fees to a school district. Id. at 1126. The record of this

case reveals that there was much more than some plausible evidence introduced that would have

entitled Mr. and Mrs. W to relief.

        In her scathing conclusion to the Decision, the HO states:

        There was no reasonable support for a "suspicion" at any time during the 2012-
        2013 school year that Wallis might have a disability. Therefore Lincoln-Sudbury
        acted properly when it did not refer Wallis for an evaluation for IDEA services or
        Section 504 accommodations.

       The lack of support for the Parents' claims is as startlingly clear now as it was
       when they were first raised in May 2013. Indeed, the Parents' vitriolic hyperbole
       does little to disguise the absence of factual and legal support for their position ...


       If ever a matter merited a finding that it was brought for an improper purpose it is
       this .... I find, based on the totality of the administrative record, that the Parents'
       actions in pursuing IDEA and Section 504 claims at the BSEA were a bad faith
       effort to punish Lincoln-Sudbury's staff for the perceived "disrespect" of their
       daughter's academic prowess and to justify public funding for her private school
       education.

(R.11 1383)(footnotes omitted). But, as set forth in the Memorandum Of Law In Support Of

Wallis And Mrs. And Mrs. W's Motion For Summary Judgment On Their Counterclaims, the

HO's conclusion as to the merits of the claim was based on numerous errors and misapplications

of the appropriate legal standards as applied to the facts of the case which ultimately infected her

findings. A fair review of the appropriate legal standards and facts reveal that the claim was

neither lacking in merit, nor was it brought for illegitimate purpose; to the contrary, Mr. and Mrs.

W had a legitimate claim that their daughter was categorically disabled and the District had

denied her a FAPE. The assertion of their and Wallis' rights under the IDEA, state special




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       Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 8 of 96
           Case 1:16-cv-10724-FDS          Document 57      Filed 06/06/17    Page 5 of 6




education law and Section 504, no matter the contentious nature of the BSEA proceedings,

cannot support the conclusion that the claim was improper.

        In Attleboro, in denying the school district's request for attorney's fees the District Judge

found it significant that the HO had denied the school's motion to dismiss: "although the Hearing

Officer ultimately ruled against the Does, it denied APS's motion to dismiss and, in the course of

reaching and resolving the merits of the Does' claims, did find that APS had committed

procedural violations even if the effect of these violations on the Does was harmless." 960

F.Supp.2d at 303. Here, while some of the issues originally presented by Mrs. And Mrs. W were

dismissed on the District's Motion, the core issues relating to the District's Child Find violations

and denial of a F APE, Section 504 violations, and claim for reimbursement of private tutoring

expenses and unilateral placement of Wallis at a private school were allowed to proceed. (R.I

521 ). And, as set forth in the Memorandum Of Law In Support Of Wallis And Mrs. And Mrs.

W's Motion For Summary Judgment On Their Counterclaims, at a minimum, there was more

than some evidence introduced that, if believed, would have established, procedural violations on

the part of the District, if not denial of a FAPE.

        It is appropriate that the IDEA sets the bar high for an award of attorney's fees to a

school district:

        Lawyers would be improperly discouraged from taking on potentially meritorious
        IDEA cases if they risked being saddled with a six-figure judgment for bringing a
        suit where they have a plausible, though ultimately unsuccessful, argument, as
        here. Such a procrustean interpretation of section 1415(i)(3)(B)(i)(II) is
        inconsistent with the IDEA' s objective of "ensur[ing] that the rights of children
        with disabilities and parents of such children are protected."

Prescott, 631 F.3d at 1126 (citations omitted). The underlying sentiment of this quotation is

especially apt with respect to self-represented parents.




                                                                                                    5
      Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 9 of 96
          Case 1:16-cv-10724-FDS          Document 57      Filed 06/06/17     Page 6 of 6




        Mr. and Mrs. W submitted substantial evidence at the BSEA hearing that their daughter

was categorically disabled with TBI; that the District not only had reason to suspect the disability

but had actual knowledge of the fact; that despite its knowledge of Wallis' disability it failed to

refer her for evaluation; and had it conducted an appropriate evaluation it would have been likely

that Wallis would have been found to be eligible for an TEP or a Section 504 plan. Under these

circumstances the District's claim for attorney's fees must be dismissed.

                                          CONCLUSION

        For the reasons stated herein, the District's complaint for attorney's fees should be

dismissed.



Dated: June 6, 2017                                Respectfully submitted,
                                                   For Mr. and Mrs. W,

                                                   Isl John N. Morrissey
                                                   John N. Morrissey, BBO # 664579
                                                    1 Mary's Way
                                                   Lincoln, MA 01773
                                                   (508) 358-2027
                                                   johnmrrssy@yahoo.com



                                 CERTIFICATE OF SERVICE
      I hereby certify that this document filed through the CMIECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies wi II be sent to those indicated as non registered participants on June 6, 2017.
                                                      Isl John N. Morrissey
                                                      John N. Morrissey




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     Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 10 of 96
       Case 1:16-cv-10724-FDS        Document 61      Filed 06/06/17 Page 1 of 18



                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

                                                 )
LINCOLN-SUDBURY REGIONAL                         )
SCHOOL DISTRICT,                                 )           Civil Action
                                                 )           No. 1:16-CV-10724-FDS
                               Plaintiff,        )
V.                                               )
                                                 )
MR. AND MRS. W.,                                 )
                                                 )
                               Defendants        )
WALLIS and                                       )
MR. and MRS. W.,                                 )
                                                 )
                Plaintiffs-in-Counterclaim       )
V.                                               )
                                                 )
LINCOLN-SUDBURY REGIONAL                         )
SCHOOL DISTRICT and                              )
                                                 )
BUREAU OF SPECIAL EDUCATION           )
APPEALS,                              )
          Defendants-in-Counterclaim.)


          CONCISE STATEMENT OF UNDISPUTED MATERIAL FACTS
     IN SUPPORT OF LINCOLN-SUDBURY REGIONAL SCHOOL DISTRICT'S
                   MOTION FOR SUMMARY JUDGMENT
                        FOR ATTORNEYS' FEES


           1.   Lincoln-Sudbury is a regional school district created pursuant to M.G.L.

c. 71, § 15 with all the powers and duties conferred by law upon school committees and by

M.G.L. c.71, §16.

           2.   Lincoln Sudbury operates Lincoln-Sudbury Regional High School

(LSRHS) and is responsible for educating students who reside in the towns of Lincoln

and Sudbury beginning in the ninth grade.    .

           3.   Mr. and Mrs.Ware residents of Sudbury, Massachusetts.



921576vl
      Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 11 of 96
           Case 1:16-cv-10724-FDS                Document 61         Filed 06/06/17         Page 2 of 18




               4.      Mr. and Mrs. Ware the parents of Wallis, who was, at all times pertinent

    to this matter, a minor who resided with them in Sudbury, Massachusetts.

               5.      The Bureau of Special Education Appeals proceeding out of which this

    action arises concerns events that took place when Wallis was a 15-year-old general

    education student enrolled in the tenth grade at LSRHS. R.II, 1366,                  ,r1 .1
               6.     Wallis's academic courses were the most challenging available to a tenth

    grade student and included accelerated honors level classes in English, Science, Math and

    Spanish, as well as advanced placement (AP) American History. Id. She participated in

    varsity sports and LSRHS's Model United Nations team. Id.

               7.     On or about September 30, 2012, Wallis was injured during a Lincoln-

    Sudbury field hockey practice. She sustained a dental injury, and on October 3, her

    physician diagnosed a concussion and recommended complete rest. R.II, 1366,                       ,r,r2, 3, 4.
               8.     Pursuant to her doctor's instructions, Wallis remained out of school for

    two weeks. R.II, 1366,       ,rs; R.III,   1492; 1512. The only doctor's instructions related to

    Wall is' s return to school are in the note from Dr. Gaughan (R.III, 1493; 1513 ); Cavallo,

    TRII, p.85, ll.4-8; Nozik, TRIII, p.16, ll.20-24;2 R.II, 1367,           ,r,r6, 7.
               9.     The doctor's instructions, written on a prescription paper, read:

                      Please allow [Wallis] to miss gym and games until 29th
                      She may run but not yet play
                      In class excuse her from make-up work and tests for two
                      weeks
                      If homework causes a relapse of symptoms please excuse
                      her from homework for a week.

I
    1
      The Administrative Record is cited as R followed by the volume number, pagers), and paragraph
    number(s), if applicable. Transcript references are cited TR followed by the volume number, page(s) and
    line(s).
    2
      The first doctor's note (R.ITI, 1493' 1512) justified her absence from school after the concussion and the
    third (R, III, 1514) sought to excuse her from a math make-up test and the final. Id.; TRIV, p.47, l.21 -
    p.49, l.5.


    921576vl                                            -2-
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 12 of 96
       Case 1:16-cv-10724-FDS         Document 61         Filed 06/06/17     Page 3 of 18




R.III, 1493, 1513.

           10.   Wallis returned to school on October 15, 2012, and went on a field trip to

Sturbridge Village with her AP History class. R.II, 1368, ,r9. That same day, a school

nurse entered a "concussion alert" into the LSRHS student on-line record system. The

alert was sent to Wallis' teachers as well as to guidance, administration, and nursing staff.

It provided notice of the doctor's instrnctions, ie. that Wallis "may run, but no playing

games. To be excused from make-up work and tests for two weeks. If homework causes

a relapse of symptoms, she is to be excused from homework for one more week." The

alert also noted that mother sent a note that Wallis would "participate in wellness as

tolerated." R.II, 1367, ,r6; R.III, 1475-76.

           11.   The LSRHS health office did not receive any other instructions from

Wallis' doctor or her parents, and was not aware of any other concussion-related

problems or requests for school action concerning Wallis from Wallis, her doctor, her

parents, or any member of LSRHS staff.         Wallis' guidance counselor, the athletic trainer,

and Wallis' teachers also all testified to the lack of communication from Wallis' doctor,

Wallis, or anyone. RII, 1367,r,r6, 7. See e.g. Cavallo, TRII, p.80, l/.18-23; p.85, ll.4-8;

p.87, l/.13-17; p.108, l/.8-11; p.125, l/.6-17; Park (guidance counselor), TRIII, p.158, 1.19

- p.159, /.1; Ando (athletic trainer), TRIil, p.79, l/.6-14; Kramer (English teacher), TRIil,

p.116, l/.15-21; Schultz (Spanish teacher), TRIII, p.127, l/.9-17; p.128, l.18 - p.129, /. 10;

Gilman (U.S. History teacher), TRIV, p.83, /.19 -p.84, /.11; p.87, /.22-p. 88, /.11; p.96,

/.21 - p.97, /.4; Dorey, TRIV, p.172, /.15 -p.173, /.16. See also R.1613.

           12.   Wallis did not visit any physician from October 12, 2012, until June 14,

2013. TRII, 1374, ,r22; TRIil, 1500-1519.



92!576vl                                       -3 -
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 13 of 96
        Case 1:16-cv-10724-FDS               Document 61    Filed 06/06/17    Page 4 of 18




             13.       Wallis did not visit the LSRHS health office during the 2012-2013 school

year except for state-mandated vision and hearing screening on January 19, 2013. Wallis

did not check off any symptoms that might have indicated post-concussion difficulties

and she passed both screens. RU, 1367, ,r7; R.III, 1479-1499; 1498-1499. Cavallo,

TRII, p.80, ll.18-23; p.85, ll.1-2; Nozik, TRIil, p.21, ll.2-3; p.35, ll.19-21; Gaumnitz,

TRIII, p.40, !. 23 - p.41, l. l. See also parents' admission at TRIII, p.41, ll.2-4.

             14.       Wallis met with her guidance counselor when she returned to school to

develop a plan covering information to share with teachers and addressing her

assignments by priority. According to her guidance counselor, Wallis appeared

physically recovered from her injury, with no observable post-concussion symptoms, and

emotionally capable of resuming her no1mal ambitious routine. She expressed her desire

to resume her routine independently, and the guidance counselor assured her that support

was available if she needed it. He also sent an e-mail to Wallis' teachers asking them to

work with Wallis to adjust assignments. R.11, 1368, ,r10. TRIII, p.144, l.22-p.146, l.6.

             15.       In early November, 2012, Wallis missed two more days of school due to

the death of a family member, and later in November, Mr. and Mrs. W e-mailed the

guidance counselor with concerns about Wallis' concussion and return to school. R.11,

1368,      ,r,rll,   12. TRIII, p.147, l.24 -p.148, l.14.

             16.       The guidance counselor set up a meeting with Wallis, her parents,

teachers, the housemaster, and himself to discuss Mr. and Mrs. W. 's concerns and

develop a plan for academic accommodations and modifications to be implemented in

Wallis' classes. There was no discussion of referring Wallis for a disability evaluation.

R.II, 1368, ,r12; R.III, 1526-1529; TRIII, p.148, l.23 -p.149, l.8.




921576vl                                           -4-
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 14 of 96

       Case 1:16-cv-10724-FDS         Document 61      Filed 06/06/17 Page 5 of 18



           17.   Lincoln-Sudbury implemented regular education modifications and

supports to assist Wallis in making up the academic work she missed during her absence.

R.II, 1368-1371, ,i,i14-17; 1379, iJ3; R.III, 1400-1505 (Answers to Interrogatories 3 and

5), 1414-1415 (Answer to Interrogatory 18), 1419-1424 (Anwers to Interrogatories 24,

25, and 26), and 1428-1431 (Answers to Interrogatories 33 and 34); R.IIII, 1535-1536.

           18.   Wallis made up all work required by her teachers by the third quarter of

the 2012-2013 school year. R.II, 1379, iJ3; R.III, 1615.

           19.   Wallis accessed the curriculum and made effective progress as evidenced

by her grades in the most rigorous classes offered to tenth grade students at LSRHS (RIII,

1577), and the testimony of her teachers. See e.g. Kramer, TRIII, p.63, l/.13-16; Schultz,

TRIII, p.128, ll.3-9; Crawford TRIV, p.34, l/.19-24; p.55, l/.8-16; Gilman, TRIV; p.90,

l/.18-22; Weiss, TRIV, p.113, ll.14-22; Dorey, TRIV, p.167, ll.11-23. Even in math, the

class she put on the back burner (see, e.g., TRIV, p.182, l.8 - p.183, /.8), she was able to

earn a 91 on a probability test after meeting with Mr. Dorey for a block. Id., p.126, l/.11-

14. See also R.III, 1615 ("parents feel as though [Wallis] has fully accessed the Int Alg

curriculum")

           20.   Wallis maintained good grades in all her challenging academic and non-

academic classes and participated in varsity sports, the Model UN program, and other

extra-curricular activities. She earned As, Bs, and two Cs and passed all her classes with

the exception oflntensive Math. R.III, 1577. Although Wallis received an Incomplete in

intensive math, her performance in that class demonstrated that she accessed the

curriculum, showed competency in the subject at a level well beyond what an average

student would be learning. She received the Incomplete only because she refused to take




921576vl                                    -5-
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 15 of 96
       Case 1:16-cv-10724-FDS         Document 61        Filed 06/06/17     Page 6 of 18




one fourth-quarter test and the final, not because she was unable to access and master the

content of class. R.II, 1370-1371, i]l 7; 1379, ,i,is, 8; RIii, 1398.
                                                                        '
           21.   Wallis participated fully in her classes and in activities. She did not

complain about physical symptoms, her workload, or that she was unable to understand.

See e.g. Kramer, TRIii, p.65, /.21 -p.66, /.3; Schultz, TRIil, p.127, ll.9-17 (complained

about headaches when she first returned to school, but never again); Gilman, TRIV, p.85,

/.24 -p.86, l.6; Dorey, TRIV, p.172, /.19 - p.173, ll.13-16. She was fully able to do the

work. See e.g. Kramer, TRIII, p.45, ll.1-12; Schultz, TRIII, p.127, /.18 - p.128, 1.20;

Gilman, TRIV, p.81, ll.3-24; p.83, ll.19-22; Dorey, TRIV, p.167. ll.3-10; p.166, /.21 -

p.167, 1.23; p.176, ll.5-16.

           22.   Wallis's advanced placement United States History teacher, Joshua

Gilman, testified that the AP Unites States History class Wallis was taking was college

level, used a college level textbook, was very demanding and fast-paced. Gilman, TRIV,

p.77, ll.10-12. The class was sophisticated and complex and required students to work at

an abstract level. Id., p.78, ll.l-5. Wallis's performance in the class was in the average to

slightly above average range. Id., p.81, ll.15-17 and 18-24. She appeared the same after

the concussion as before, and she participated as much after as before. Id., p.83, ll.19-23.

Based upon his observations of Wallis in class every day, Mr. Gilman believed she

was following along, understanding the content, and keeping up with the class.

TRIV, p.87, !!., 11-18. There was nothing about her performance which would have

caused him to recommend that she receive specialized instruction in history. Id., p. 91,

ll.11-24. He also testified that he would not have made a recommendation for her




921576vl                                     -6 -
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 16 of 96
         Case 1:16-cv-10724-FDS       Document 61      Filed 06/06/17    Page 7 of 18




placement in the non-AP History class at any time during the year. Id. See also R.III,

 1401.

           23.   Wallis's American Literature teacher, Ann Kramer, testified that the class

 was the highest level English class at LSRHS (TRII, p.42, 1.21) and that she had no

 reason at all to believe Wallis required specialized instruction to make progress in

 the regular education English curriculum (Kramer,TRIII, p. 66, ll.12-17) because

 she was "sailing right through" the "very difficult" and "challenging curriculum"

 of the class. Id., p.67, ll.2-7; see also R.111, 1401.

           24.   Kim Schultz, who taught Wallis's level one Spanish class (TRIii,

 p.108, ll.14-22), testified that the class was intense and difficult, and there was

 nothing in Wallis's performance indicating "the presence of a disability that would

 affect" her performance. Ms. Schultz did not suspect a disability (id., p.130, 1.21 -

 p.131, l. 7) and did not observe anything about Wallis that would have prompted

 her to refer Wallis for evaluation for an IEP or a Section 504 plan. Id., p.129,

 ll.12-19. See also R.III, 1402.

           25.   Likewise, Brandon Dorey, Wallis's math teacher, testified that Wallis

 never exhibited any behavior or acted in any way that led him to believe she was

 suffering from concussion symptoms (TRIV, p.175, ll.18-23), nor did she

 complain to him about any physical symptoms (id., p.172, ll.15-18) or about her

 grades. Id., ll.19-23; p.175, l.24-p.176, 1.2. Wallis never told him she did not

 understand the material. Id., p .. 172, 1.42 - p.173, 1.2. Mr. Dorey also testified that

 a C- in Intensive Algebra II demonstrated that Wallis accessed the curriculum and

 showed competency in algebra. Id,, p.176, ll.5-10.




921576vl                                    -7-
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 17 of 96
        Case 1:16-cv-10724-FDS        Document 61               Filed 06/06/17   Page 8 of 18




           26.   The supports Mr. Dorey put in place to assist Wallis were not special

 education or Section 504 supports intended for students with disabilities, but were

 the supports he would have put in place for any student who time for any reason.

 TRIV, p.185, 1.12 - p.188, 1.5. See also R.III, 1402.

           27.   Wallis also participated effectively in school life, including the Model UN

where she took on leadership roles and participated in the in-school conference and three-

day trip to New York. TRIII, p.136, 1.18- p.1.7, p.155, 1.21 -p.156, 12. She participated

in winter track practices (R.III, 1530-1534), and participated fully (practices and meets)

in spring track. R.III, 1477. See also R.III,1395-1433, and R.III, 1396-1397, in

particular, for its explanation of the time commitment involved in spring track.

           28.   Wallis also scored well, and above average, on the National Spanish

Examination, earning a bronze medal; on the United States History Advanced Placement

Exam, scoring 4 out of a possible 5; and on the United States History subject SAT,

scoring 610. R.II, 1379-1380,    ,rs; R.III,   1586, 1591, 1597.

           29.   The evidence at hearing was overwhelming that the medical issues Wallis

experienced in the fall (being out of school for two weeks, and the doctor's instructions

that she not do make-up work and make-up tests for another two weeks) had no effect

whatsoever on Wallis's ability to learn and that her ability to learn was not limited at all,

much less substantially limited. R.II, 1379,     ,r,r2, 6, 8.    Even in math, the class she put on

the back burner (TRIV, p.182, 1.8 -p.183, 1.8), she was able to earn a 91 on a probability

test after meeting with Mr. Dorey for a single block (id., p.126, ll.11-14) and performed

at a level which exceeded that of the average student her age. TRIV, p.165, l.21 -p.167,

1.23.




921576vl
                                                -8-
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 18 of 96
       Case 1:16-cv-10724-FDS         Document 61      Filed 06/06/17     Page 9 of 18




           30.   There were no communications between Mr. and Mrs.Wand/or Wallis

and Lincoln-Sudbury about Wallis's concussion, concerns over lingering symptoms,

make-up work, inability to do any activity or sports, or the need for concussion-related

accommodations after November, 2012, until May, 2013, when Brandon Dorey, Wallis'

math teacher, declined to recommend her for intensive math in 11th grade. R.II, 1383;

R.III, 1612. The school nurses, Wallis' guidance counselor, the athletic trainer, and

Wallis' teachers all testified to the lack of communication from Wallis' doctor, Wallis, or

anyone. See e.g. Cavallo, TRII, p.80, l/.18-23; p.85, ll.4-8; p.87, l/.13-17; p.108, l/.8-11;

p.125, l/.6-17; Park (guidance counselor), TRIil, p.158, /.19 - p.159, /.1; Ando (athletic

trainer), TRIil, p.79, l/.6-14; Kramer (English teacher), TRIil, p.116, l/.15-21; Schultz

(Spanish teacher), TRIil, p.127, l/.9-17; p.128, /.18 -p.129, /.10; Gilman (U.S. History

teacher), TRIV, p.83, /.19 -p.84, /.11; p.87, l.22 -p. 88, /.11; p.96, /.21 -p.97, l.4;

Dorey, TRIV, p.172, /.15 - p.173, /.16. See also R.III, 1613.

           31.   In May, 2013, Mr. Dorey recommended that Wallis shift from Intensive

Math to the next highest honors level class because he concluded that the structure of the

Intensive level was not a good fit for her learning style and that Wallis would achieve A

grades in the honors class. R.II, 1371, iJl 7; TRIV, p.182, l.8-p.183, /.8.

           32.   Wallis was upset and angry when the math teacher explained his

recommendation to Wallis and that her parents could override his recommendation as

they had done with a prior math teacher's recommendation if she preferred to continue at

the Intensive level. R.11, 1371, iJ18; TRIV, p.153, l.5 -p.156, /.18.

           33.   Wallis' guidance counselor met with Wallis and the math teacher and

proposed a plan to assist Wallis in raising her fourth quarter grade to at least 70% through




921576vl                                    -9-
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 19 of 96
      Case 1:16-cv-10724-FDS        Document 61       Filed 06/06/17    Page 10 of 18




the use of extra help offered by the math teacher, lunch-time math tutoring, online

instructional support, and concrete feedback. The math teacher agreed to reconsider his

recommendation for placement if she achieved above 70%. R.II, 1371, iJl 8; R.III, 1600-

1601.

           34.   On May 19, Mr. and Mrs. W. rejected the plan in a scathing e-mail

demanding an emergency meeting to put Wallis on a 504 plan to address deficiencies in

math, remove Wallis from Mr. Dorey's classroom and give her an incomplete in math for

the year, prohibit Mr. Dorey from conducting any further testing or grading of Wallis'

work, schedule an evaluation, and provide summer tutoring. R.II, 13 71, iJl 8; R.III, 1602-

1603.

           35.   Lincoln-Sudbury responded by e-mail on May 20, offering a meeting to

discuss the 504 process, providing a summary of the 504 process, explaining the need for

additional medical documentation and consent for cognitive testing, and urging Wallis's

prompt return to math class. R.II, 1371, iJ19; R.III, 1604.

           36.   On May 21, Mr. and Mrs. W. responded with another e-mail which was

highly critical of and insulting to Lincoln-Sudbury and its staff, in which they claimed,

among other things, that Wallis had been "cognitively disabled for an extended period of

time." R.III, 1605-1606.

           37.   Lincoln-Sudbury met with parents on May 24 for a 504 meeting to

discuss, inter alia, Wallis's math placement for eleventh grade, parents' questions about

math in particular, and, in general, about whether Lincoln-Sudbury appropriately

accommodated Wallis after her concussion, whether Wallis had a disability which




921576vl                                   - 10 -
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 20 of 96
      Case 1:16-cv-10724-FDS         Document 61      Filed 06/06/17     Page 11 of 18




required continued accommodations, and the additional steps and documentation required

for consideration of a 504 plan. R.II, 1372, ,r23; R.III, 1610-1615.

           38.   At the May 24, 2013, meeting, Mr. and Mrs. W confirmed that they had

not taken Wallis back to the doctor because of her concussion, that Wallis had been

disabled but was not at that time, that they did not think she had post-concussion

symptoms at that point, and even that they felt Wallis had fully accessed the Intensive

Algebra curriculum. R.II, 1373,i124; R.III, 1613, 1615.

           39.   Mr. and Mrs. W were familiar with the parental override process which

would permit Wallis to take the Intensive level math class in eleventh grade because they

had exercised that option in the past. R.II, 1373, ,r27. Lincoln-Sudbury told the Ws it

does not deny requests to override teacher recommendations at the May 24 meeting

(R.III, 1614) and the Ws exercised the override option to place Wallis in intensive

geometry for 9th grade against the recommendation of her eighth grade teacher. R.III,

1585; TRIV, p.244, /.13 -p.246, 1.24.

           40.   Mr. and Mrs. W exercised the override option and Wallis was scheduled

for the Intensive level math class in eleventh grade. R.II, 1373, ,r28; TRIV, p.54, l/.5-13.

           41.   Mr. and Mrs. W began requesting records from Lincoln-Sudbury in June,

2013. R.III, 1562, 1563; see also R.II, 863-884; 911-917.

           42.   On June 14, 2013, Mr. and Mrs. W took Wallis to the doctor for the

purpose of obtaining a note asking Lincoln-Sudbury to give Wallis an incomplete and

provide tutoring and remediation over the summer. R.III, 1466; 1510. The June 14,

2013, note states that Wallis "suffered a concussion in 10/2012 and did not have the




921576vl                                   - 11 -
    Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 21 of 96
        Case 1:16-cv-10724-FDS            Document 61      Filed 06/06/17 Page 12 of 18



opportunity to learn the work that she had missed."3 R.III, 1514. It does not say she still

suffered from concussion symptoms, that she was disabled, or that postponing the tests

and math remediation over the summer was medically necessary.

           43.     Neither the math make-up, nor the math final covered any material from

the first quarter when Wallis missed time from school because of the concussion. TRIV,

p.51, ll.10-19; p.134, ll.18-20; p.137, ll.1-6; p.189, ll.5-13; TRIV,

           44.     Dr. Gaughan did not examine Wallis during the June 14, 2013, visit; the

Procedure Code for the visit was "counseling." R.II, 1373. iJ25; R.III, 1510, 1514.

           45.     Wallis never made up the math test she missed in May and never took the

final. R.II, 1373, iJ26.

           46.     On July 8, 2013, Mr. and Mrs. W. took Wallis to Boston Children's

Hospital for "support to discuss with the school about [alleged] previous lack of

accommodations," but the doctor declined because he had not been treating Wallis when

parents claim she should have had accommodations. There were no significant findings.

R.II, 1373, iJ27; R.III, 1515-1519 and 1506-1509.

           47.     Lincoln-Sudbury never received a signed consent to evaluate Wallis from

Mr. and Mrs. W. R.II, 1373, iJ24; 1379, iJ7.

           48.     On September 3, 2013, Mr. and Mrs. W. notified Lincoln-Sudbury of their

intent to enroll Wallis at Lawrence Academy, a non-special education, college

preparatory private high school, claiming that Lincoln-Sudbury had not provided Wallis

with a free appropriate public education and requesting public funding for the private

high school placement. R.II, 1374, iJ30; R.III, 1537-1539.



3
    The note asks Lincoln-Sudbury to excuse Wallis from


921576vl                                          - 12 -
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 22 of 96
      Case 1:16-cv-10724-FDS         Document 61      Filed 06/06/17     Page 13 of 18




           49.   In response, Lincoln-Sudbury sent Mr. and Mrs. W a special education

evaluation consent form. R.11, 1374, iJ30; R.111, 1540-1543

           50.   Wallis began attending Lawrence Academy on September 6, 2013. R.11,

1374, i]30; R.111, 1540. Her parents called in to Lincoln-Sudbury to report her absent

from September 4 through September 24 when they dis-enrolled her from Lincoln-

Sudbury Regional High School. R.111, 1559-1560; 1571-1572.

           51.   By letter dated September 24, 2013, Mr. and Mrs. W formally withdrew

Wallis from Lincoln-Sudbury, stating also that they did not consent to an IDEA eligibility

evaluation. R. 1374, i]31; R.111, 1559-1561.

           52.   Mr. and Mrs. W. requested a hearing before the Bureau of Special

Education Appeals (BSEA) on September 22, 2014, almost two full years after the

accident (R.I, 4; R.111, 1474) which resulted in Wallis' concussion. R.I, 1-26; R.111, 1512.

           53.   The case at the BSEA involved extensive discovery requests from Mr. and

Mrs. W to Lincoln-Sudbury. See R. Index. It also involved numerous motions (see R.

Index where parents' motions are listed as letters from parents to the hearing officer),

including two motions to recuse the hearing officers (R.11, 767-938 and 1042-1058), both

of which were denied (R.11, 965-967; 1092) although the case was administratively

reassigned to the hearing officer who conducted the hearing and wrote the decision

shortly before the hearing was scheduled to begin. R.11, 968.

           54.   The hearing officer culled thirteen (13) issues from the Ws

hearing request. R.126-127; 521-529. Those issues were ultimately pared to eight (8),

and after six (6) days of hearing, during which parents called seventeen (17) witnesses,

all of whom were either current Lincoln-Sudbury administrators, teachers, and staff or




921576vl                                    - 13 -
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 23 of 96
      Case 1:16-cv-10724-FDS          Document 61      Filed 06/06/17     Page 14 of 18




were former Lincoln-Sudbury administrators, Mr. and Mrs. W. rested their case. TRII-

TRVI.

           55.   The case at the BSEA resulted in a hearing which occurred on six (6)

different days over a period of months. R.II,1336.

           56.   The Ws' witness list identified twenty (20) Lincoln-Sudbury witnesses

and eleven (11) non-Lincoln-Sudbury witnesses. SR 44-45.

           57.   The Ws did not call any of the non-Lincoln-Sudbury witnesses on their

witness list (TRII-TRVI; R.II, 1336), including their "key witnesses" whose

unavailability was a reason for their requests to postpone the hearing when it was

scheduled for February 25-27. R.584.

           58.   Wallis did not attend any of the hearing or testify. R.II, 1336.

           59.   Mr. and Mrs. W did not testify. TRIV, p.208, ll.3-7.

           60.   On April 1, 2016, the BSEA issued its decision in Lincoln-Sudbury's

favor on all issues. The BSEA issued a corrected decision non April 8, 2016, to correct

clerical errors, not make any substantive changes. R.II, R.1333-1360; 1361-1386.

           61.   Lincoln-Sudbury is the prevailing party because it prevailed at the BSEA

on every issue. R.II, 1380-1383.

           62.   The hearing officer found that Wallis was not disabled within the meaning

of the IDEA or Section 504 at any time during the 2012-2013 school year. R.II, 1383.

           63.   The hearing officer found that Mr. and Mrs. W failed to present any

evidence "which could form a reasonable basis for a finding of eligibility for IDEA or

Section 504 protections," and found "[t]here was no reasonable support for a 'suspicion'




921576vl                                     - 14 -
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 24 of 96
      Case 1:16-cv-10724-FDS         Document 61       Filed 06/06/17 Page 15 of 18



at any time during the 2012-2013 school year that Wallis might have a disability." R.II,

 1383.

           64.   The hearing office expressly found that the Ws' "claim to special

education eligibility is patently frivolous, as is the claim to Section 504 protections."

R.II, 1383.

           65.   The hearing officer also concluded that "Lincoln-Sudbury acted

reasonably and responsibly when it followed the physician's instructions concerning

Wallis' re-entry to school following her injury" and that "Lincoln-Sudbury teachers

extended reasonable regular education supports to Wallis immediately on her return, and

for as long as she needed them, and that those supports permitted Wallis to maintain a

high level of achievement in rigorous honors level academic classes and in a demanding

extracurricular schedule." R.II, 1383.

           66.   The hearing officer also found that Mr. and Mrs. W.'s behavior toward

Lincoln-Sudbury and during the administrative process was characterized by "vitriolic

hyperbole." R.II, 1383.

           67.   The hearing officer found that Mr. and Mrs. W's "vitriolic hyperbole [did]

little to disguise the absence of factual and legal support for their position." R.II, 13 83.

           68.   The hearing officer found that "in correspondence to and meeting with

Lincoln-Sudbury personnel, and throughout [the BSEA proceeding]" Mr. and Mrs. W

offered insults, threats, distortions, misleading and tautological arguments," and that their

behavior was apparently designed "to intimidate, shame or coerce Lincoln-Sudbury staff

into actions not warranted by a reasonable view of Wallis' educational experience at

Lincoln-Sudbury." R.II, 13 83.




921576vl
                                            - 15 -
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 25 of 96
        Case 1:16-cv-10724-FDS       Document 61      Filed 06/06/17 Page 16 of 18



           69.   The hearing officer expressly found that "[i]f ever a matter merited a

finding that it was brought for an improper purpose it is this." R.11, 1383.

           70.   The hearing officer found that "[t]he record clearly demonstrates that the

Parents' objections to Wallis'   io" grade experience at Lincoln-Sudbury began only after
the math department recommended a change from one honors section to another honors

section." R.11, 1383.

           71.    The hearing office expressly found that "the Parents' actions in pursuing

IDEA and Section 504 claims at the BSEA were a bad faith effort to punish Lincoln-

Sudbury's staff for the perceived 'disrespect' of their daughter's academic prowess and to

justify public funding for her private school education." R.11, 1383.

           72.   Lincoln-Sudbury has paid $109,279.00 in attorneys' fees and $2,006.84 in

costs to defend the BSEA proceeding. Affidavit of Counsel in Support of Lincoln-

Sudbury Regional School District's Motion for Summary Judgment for Attorneys' Fees,

,r15.

           73.   Lincoln-Sudbury has also paid an additional $46,327.00 in attorneys' fees

through April 30, 2017, and $2,334.90 in costs incurred through March 31, 2017, related

to its claim for attorneys' fees and its defense of the Ws' counterclaim appealing from the

BSEA decision. Affidavit of Counsel in Support of Lincoln-Sudbury Regional School

District's Motion for Summary Judgment for Attorneys' Fees, ,r16.

           74.   The total fees incurred through April 30, 2017, is $155,606.00. The total

expenses through March 31, 2017, is $4,341.74. Affidavit of Counsel in Support of

Lincoln-Sudbury Regional School District's Motion for Summary Judgment for

Attorneys' Fees, ,r17.




921576vl
                                            - 16 -
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 26 of 96
      Case 1:16-cv-10724-FDS         Document 61       Filed 06/06/17     Page 17 of 18




           75.   Lincoln-Sudbury has continued and will continue to incur fees and costs

until this litigation is over. Affidavit of Counsel in Support of Lincoln-Sudbury Regional

School District's Motion for Summary Judgment for Attorneys' Fees, iJ18.

           76.   The number of hours spent on the BSEA case and this litigation is

reasonable considering the complex nature of special education litigation in general and

the additional complexities involved in this case in light of the parents' pro se status, their

rancor toward Lincoln-Sudbury, its teachers and administrators, and the number of issues

and Lincoln-Sudbury staff involved. Affidavit of Counsel in Support of Lincoln-Sudbury

Regional School District's Motion for Summary Judgment for Attorneys' Fees, iJ19. See

also Affidavit Of Attorney Mary Ellen Sowyrda in Support of Lincoln-Sudbury Regional

School District's Motion for Summary Judgment for Attorneys' Fees, iJiJ5-7.

           77.   The attorneys' fees, costs, and expenses incurred in defending against Mr.

and Mrs. W.'s frivolous claims are reasonable and are within the range of rates prevailing

in the community in which the proceeding arose for the kind and quality of services

furnished. Affidavit of Jeffrey M. Sankey, iJ6; Affidavit Of Michael J. Joyce, Esq. in

Support of Lincoln-Sudbury Regional School District's Motion for Summary Judgment

for Attorneys' Fees, iJiJ5, 7; Affidavit Of Attorney Mary Ellen Sowyrda in Support of

Lincoln-Sudbury Regional School District's Motion for Summary Judgment for

Attorneys' Fees, ,is.

           78.   All time spent and fees incurred in defending the Ws' complaints against

the school nurses and the athletic trainer, and to respond to Mr. and Mrs. W's repeated

and duplicative student records, public records, and open meeting law requests and

complaints, totaling $8,505.00 in legal fees and $25.03 in expenses, have been excluded




921576vl                                    - 17 -
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 27 of 96
      Case 1:16-cv-10724-FDS          Document 61      Filed 06/06/17    Page 18 of 18




from the calculation of fees and costs. Affidavit of Counsel in Support of Lincoln-

Sudbury Regional School District's Motion for Summary Judgment for Attorneys' Fees,

,rip-9 and Exhibits A, p.3, Part III, and B thereto.

           79.    Any time for other unrelated matters or duplicative time has also been

excluded. Affidavit of Counsel in Support of Lincoln-Sudbury Regional School

District's Motion for Summary Judgment for Attorneys' Fees, ,r10.

           80.    Lincoln-Sudbury has reduced the rate for travel time from $225.00 per

hour to $17 5 .00 per hour for purposes of this motion. Affidavit of Counsel in Support of

Lincoln-Sudbury Regional School District's Motion for Summary Judgment for

Attorneys' Fees, ,r14.

           DATED at Quincy, Massachusetts, this 6th day of June, 2017.

                                Lincoln-Sudbury Regional School District
                                By its attorneys

                                s/ Doris R. MacKenzie Ehrens
                                Doris R. MacKenzie Ehrens, Attorney at Law
                                BBO # 544252
                                MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                300 Crown Colony Drive, Suite 410
                                Quincy, Massachusetts 02269-9126
                                (617) 479-5000


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 6th day of June, 2017, I served a
copy of the foregoing electronically through the CM/ECF system on all counsel of record
for the parties.


                                         /s/ Doris R. MacKenzie Ehrens
                                             Doris R. MacKenzie Ehrens




921576vl                                    - 18 -
     Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 28 of 96
           Case 1:16-cv-10724-FDS       Document 62     Filed 06/06/17 Page 1 of 8



                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                )
LINCOLN-SUDBURY REGIONAL                       )
SCHOOL DISTRICT,                               )              Civil Action
                                               )              No. 1:16-CV-10724-FDS
                                 Plaintiff,    )
V.                                             )
                                               )
MR. AND MRS. W.,                               )
                                               )
                                 Defendants    )
WALLIS and                                     )
MR. and MRS. W.,                               )
                                               )
                  Plaintiffs-in-Counterclaim   )
V.                                             )
                                      )
LINCOLN-SUDBURY REGIONAL              )
SCHOOL DISTRICT and                   )
                                      )
BUREAU OF SPECIAL EDUCATION           )
APPEALS,                              )
          Defendants-in-Counterclaim.)


 AFFIDAVIT OF COUNSEL FOR LINCOLN-SUDBURY REGIONAL SCHOOL
  DISTRICT IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
                    FOR ATTORNEYS' FEES

           Doris R. MacKenzie Ehrens, being first duly sworn, state of my own personal

knowledge:

            1.    I have been actively engaged in the practice of law since 1977 when I was

admitted to practice in the State of Alaska. In 1978, I was admitted to practice before the

Ninth Circuit Court of Appeals and the United States District Court for the District of

Alaska. I was admitted to practice before the First Circuit Court of Appeals and the

United States District Court for the District of Massachusetts in 1982 and to the Bar of




921193vl
     Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 29 of 96
           Case 1:16-cv-10724-FDS          Document 62        Filed 06/06/17       Page 2 of 8




    the Commonwealth of Massachusetts in 1984. I have also practiced pro hac vice in the

    Fifth Circuit Court of Appeals and in state and federal courts in New Hampshire.

            2.      Throughout my forty ( 40) years in practice, I have focused at all times in

    the area of civil litigation and have practiced in trial and appellate courts, as well as

before a number of administrative bodies including, but not limited to, the Bureau of

    Special Education Appeals, the Appellate Tax Board, the Housing Appeals Committee,

and the Massachusetts Commissions Against Discrimination. I have practiced with the

law firm of Murphy, Hesse, Toomey & Lehane, LLP (MHTL), since 1996.

           3.      I began practicing in the area of special education law in 2004,

representing schools and/or school districts in court and at the Bureau of Special

Education Appeals (BSEA), and have successfully litigated special education cases

before the BSEA, in the United States District Court, and in the First Circuit Court of

Appeals. I have litigated special education and other cases with pro se individuals on a

number of occasions over the years. Litigating with pro se individuals typically requires

substantially more patience and time than litigating with parties represented by counsel

because their lack of legal training and familiarity with the process leads them to inject

more irrelevant, immaterial, and/or inapplicable facts and arguments into the litigation.

           4.      Mr. and Mrs. W. represented themselves throughout the BSEA proceeding

out of which this action arises.1 According to my internet research, both Mr. and Mrs. W.

are highly educated, although neither appears to have any formal legal training based

upon the information I was able to find.


1
  They were, however, represented by Attorney John N. Morrissey in their Middlesex Superior Court action
seeking damages and they are represented by Attorney Morrissey in this proceeding. The Middlesex
Superior Court case was dismissed and a motion to reconsider was denied. The W's have appealed from
the decision in that case.


921193vl
                                                 -2-
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 30 of 96
           Case 1:16-cv-10724-FDS       Document 62     Filed 06/06/17 Page 3 of 8



            5.    According to Linkedln, Mrs. W., who took the lead role in filing and

arguing at the BSEA, has Bachelor of Science degrees in Chemistry and Chemical

Engineering from the Massachusetts Institute of Technology (MIT) and a Master of

Science in Chemical Engineering from the University of California at Berkeley. She has

been employed as a consultant to chemical, pharmaceutical, and biotechnology clients, as

well as in the health care plan industry. Mr. W. has a Bachelor of Science degree in

Mechanical Engineering from MIT and a Master of Science in Engineering from the

University of California at Berkeley. He has been employed as a consultant/software

developer and as a product manager for a suite of portfolio management software.

           6.    Mr. and Mrs. W. are familiar with the BSEA and the special education

process. They have been to a due process hearing with a different school district, not

Lincoln-Sudbury Regional District (Lincoln-Sudbury) in 2005 concerning another child.

TRII, p.57, ll.11-15. Mr. and Mrs. W. were represented by counsel at that hearing.

           7.    I have represented Lincoln-Sudbury in this matter since the hearing

request was filed in September, 2014. Before the hearing request was filed to initiate the

BSEA proceeding and continuing for a time thereafter, MHTL was involved in assisting

Lincoln-Sudbury with Mr. and Mrs. W's public records, open meeting law, and student

records requests. Attorney John Morrissey represented Mr. and Mrs. W at that time.

MHTL's special education department head, Attorney Mary Ellen Sowyrda, along with

Attorney Tami Fay, assisted Lincoln-Sudbury in addressing Mr. and Mrs. W's request for

student records beginning in or about August, 2013. Attorneys' fees and costs related to

those matters is not included in the amount of attorneys' fees and costs Lincoln-Sudbury

seeks to recover through this motion.




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  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 31 of 96
           Case 1:16-cv-10724-FDS      Document 62      Filed 06/06/17    Page 4 of 8




            8.    I first became involved in matters concerning Wallis' injury in January,

2014, when Mr. and Mrs. W filed complaints against the licenses of Lincoln-Sudbury's

athletic trainer and its three school nurses. Thereafter, I was also involved for a time in

assisting Lincoln-Sudbury with further aspects of parents' public records requests and

open meeting law complaint in connection with their requests for records. On

information and belief, Lincoln-Sudbury provided Mr. and Mrs. W with extensive

documentation in response to their student record, public record, and open meeting law

requests. Attorneys' fees and costs related to the complaints against the school nurses,

the athletic trainer, and to Mr. and Mrs. W's repeated student records, public records, and

open meeting law requests and complaints are not included in the attorneys' fees and

costs Lincoln-Sudbury seeks to recover through this motion. The amount of costs and

fees related to those matters is, however, shown in Exhibit A, hereto, part III.

           9.    Attached hereto as Exhibit A and incorporated herein by reference, is a

true and correct copy of a document I prepared to summarize the attorneys' fees incurred

and paid by Lincoln-Sudbury for the defense of the BSEA # 1502427, in this proceeding,

and to respond to Mr. and Mrs. W.'s public records, Open Meeting Law, and student

record requests and to the complaints they filed against the licenses of Lincoln-Sudbury' s

athletic trainer and its three school nurses.

           10.   Attached hereto as Exhibit Band incorporated herein by reference is a true

and correct copy of a Reprint of Billed Details to Date generated by MHTL' s accounting

department's billing software for the period from August 21, 2013, through February 25,

2017, from which I have redacted names and unrelated information and marked with red-

line strike out any time spent on matters concerning Mr. and Mrs.Wand Wallis which




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                                                -4-
   Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 32 of 96
             Case 1:16-cv-10724-FDS      Document 62      Filed 06/06/17    Page 5 of 8




 are not related to the BSEA proceeding or this action. Exhibit B has also been marked to

 reflect reductions for any other reason, such as travel time or a mistaken or duplicate

 entry.

              11.   Attached hereto as Exhibit C and incorporated herein by reference are true

and correct reprints of a number of billing summaries generated by MHTL' s accounting

department. Similar billing summaries with attached documentation have been generated

and sent to Lincoln-Sudbury on a regular basis since September, 2013, when Mr. and

Mrs. W began requesting records from Lincoln-Sudbury. They also show the amount of

time spent on unrelated Lincoln-Sudbury matters and demonstrate that the matters

involving the Ws required significantly more time and expense. The billing summaries in

Exhibit C are included because they reflect professional courtesy reductions to the bills

sent to Lincoln-Sudbury. The professional courtesies on the February 6, 2013, April 13,

2015, and April 28, 2015, bills applied to the fees incurred and billed for the BSEA

proceeding. The professional courtesy on the March 9, 2017, bill applies to the fees

incurred in this proceeding.

             12.    MHTL has billed my time at the rate of $225.00 per hour throughout the

course of my representation of Lincoln-Sudbury. That rate is consistent with the rates the

firm bills other school and municipal clients and is justified by my experience, expertise,

and skill in special education matters and litigation. The rate is also consistent with the

hourly rates charged by attorneys who practice special education law in this community

and have similar experience to mine. See also Affidavit Of Attorney Mary Ellen

Sowyrda in Support of Lincoln-Sudbury Regional School District's Motion for Summary

Judgment for Attorneys' Fees,,r,r6-8; Affidavit of Jeffrey M. Sankey,    ,r,r5, 6; Affidavit Of



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  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 33 of 96
           Case 1:16-cv-10724-FDS        Document 62         Filed 06/06/17   Page 6 of 8




Michael J. Joyce, Esq. in Support of Lincoln-Sudbury Regional School District's Motion

for Summary Judgment for Attorneys' Fees,         ,r,r5-7.
            13.   Paralegal, Paula Wright (formerly Rivera - PMR on billing

documentation) has been billed at $110.00 per hour since she started assisting with this

case on April 14, 2016. Ms. Wright is an experienced litigation paralegal who has been

employed by this firm in that capacity since 2003. The rate is consistent with the rate the

firm bills other clients for her time.

            14.   For purposes of this motion for fees, I have, with Lincoln-Sudbury's

knowledge and consent, reduced my rate for travel time to $175.00 per hour. Lincoln-

Sudbury was billed the full rate for this time.

            15.   Lincoln-Sudbury has paid $109,279.00 in attorneys' fees and $2,006.84 in

costs to defend the BSEA proceeding.

            16.   Lincoln-Sudbury has also paid an additional $46,327.00 in attorneys' fees

through April 30, 2017, and $2,334.90 in costs incurred through March 31, 2017, related

to its claim for attorneys' fees and its defense of the Ws' counterclaim appealing from the

BSEA decision.

            17.   The total fees Lincoln-Sudbury incurred and paid for the BSEA case and

this case through April 30, 2017, is $155,606.00. The total expenses Lincoln-Sudbury

incurred and paid for the BESA case and this case through March 31, 2017, is $4,341.74.

           18.    Lincoln-Sudbury has continued and will continue to incur fees from May

1, 2017, and costs from April 1, 2017, until this litigation is over.

           19.    The number of hours spent on the BSEA case and this litigation is

reasona1?le considering the complex nature of special education litigation in general and




921193vl                                     -6 -
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 34 of 96
           Case 1:16-cv-10724-FDS     Document 62       Filed 06/06/17 Page 7 of 8



the additional complexities involved in this case in light of the parents' prose status, their

rancor toward Lincoln-Sudbury, its teachers and administrators, the length of Mr. and

Mrs. W's filings, and the number of issues and Lincoln-Sudbury staff involved. See also

Affidavit Of Attorney Mary Ellen Sowyrda in Support of Lincoln-Sudbury Regional

School District's Motion for Summary Judgment for Attorneys' Fees,iJi/5-7.

            20.   Mr. and Mrs. W's single-spaced Request for Hearing filed on September

22, 2014, is in Volume I of the Administrative Record, at pages 1-26. Analyzing the

hearing request and responding to it (Lincoln-Sudbury' s response to the hearing request

is at R.I., pp.31-40), required extensive document review and interviews with Lincoln-

Sudbury staff and administrators. Mr. and Mrs. W's hearing request is illustrative of the

nature and scope of Mr. and Mrs. W's filings throughout the litigation. Lincoln-Sudbury

was required to respond to extensive discovery requests, oppose motions, and prepare for

and participate in a lengthy hearing on six days.

           21.    Murphy, Hesse, Toomey & Lehane's records of the BSEA proceeding

contain two 3 ½ -inch binders consisting of one hundred fourteen (114) papers served

and/or filed by Mr. and Mrs. W and Lincoln-Sudbury. The binders do not include

parents' 78-page, single-spaced closing argument with 23 exhibits which had not been

offered into evidence which fills a separate redwell. The binders and redwell do not

include the lateral file drawer of documents obtained from Lincoln-Sudbury to respond to

Mr. and Mrs. W's numerous document requests for copies ofrecords, many of which

were irrelevant to the BSEA case. In addition, the Administrative Record is 2,170 pages

in four volumes with six volumes of transcript consisting of 966 pages.




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                                            -7-
  Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 35 of 96
           Case 1:16-cv-10724-FDS      Document 62      Filed 06/06/17 Page 8 of 8



              SIGNED under the pains and penalties of perjury at Quincy, Massachusetts this

 1st day of June, 2017.


                                        Isl Doris R. MacKenzie Ehrens
                                        Doris R. MacKenzie Ehrens, Attorney at Law
                                        BBO #544252




                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 6th day of June, 2017, I served a copy of the
foregoing on counsel for defendants/plaintiffs-in-counterclaim on parents John, by first
class mail, postage prepaid.


                                         Isl Doris R. MacKenzie Ehrens
                                             Doris R. MacKenzie Ehrens




921193vl                                     -8-
Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 36 of 96
  Case 1:16-cv-10724-FDS Document 62-1   Filed 06/06/17 Page 1 of 4




    EXHIBIT A
        Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 37 of 96
           Case 1:16-cv-10724-FDS        Document 62-1     Filed 06/06/17   Page 2 of 4




                                            EXHIBIT A

                                        ATTORNEYS' FEES
                                            & COSTS
                                           SUMMARY

I.        ATTORNEYS' FEES

          A.     BSEA # 1502427
                 9/26/14-4/4/16

Hours            @                            Attorney/Paralegal

  3.0 hours      @       $235.00/hour         Mary Ellen Sowyrda (MES)              $     705.00
  0.9 hours      @       $240.00/hour         Mary Ellen Sowyrda (MES)              $     216.00
491.2 hours      @       $225.00/hour         D.R.M. Ehrens (DME)                   $ 110,520.00
                                              (Tami Fay [TF], Felicia
                                              Vasudevan [FSC], Bryan
                                              LeBlanc [BRL], Kathleen
                                              Yaeger [KEY])

 13.5 hours      @       $175.00/hour         D.R.M. Ehrens (travel)                $   2,362.50

                                                                                  $ 113,803.50
                                Less Professional Courtesy Reductions*          - $ 4,524.50

                        TOTAL ATTORNEYS' FEES BILLED AND PAID                       $ 109,279.00

* Professional Courtesy reductions for this matter:
          $1,125.00 on 2/6/15 bill
          $2,025.00 on 4/13/15 bill
          $1,374.50 on 4/28/15 bill
          $4,524.50




          B.     UNITED STATES DISTRICT COURT Civil Action No.16-10724-FDS
                 4/5/16 - 4/30/17

                 @                            Attorney/Paralegal

     2.4 hours   @      $240.00/hour          Mary Ellen Sowyrda                $       576.00

201.2 hours      @      $225.00/hour         D.R.M. Ehrens                      $ 45,270.00
        Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 38 of 96
            Case 1:16-cv-10724-FDS          Document 62-1      Filed 06/06/17   Page 3 of 4




Hours             @          Rate                 Attorney/Paralegal

    1.0 hours     @       $175.00/hour            D.R.M. Ehrens (travel)             $      175.00

    17.1 hours    @       $110.00/hour            Paula Wright (PMR),
                                                  [paralegal]                        $     1,881.00

                                                                                     $ 47,902.00
                                    Less Professional Courtesy Reductions*          -$ 1,575.00

                          TOTAL ATTORNEYS' FEES BILLED AND PAID                      $   46,327.00

*     Professional Courtesy reductions for this matter:
           $1,575.00 on 3/9/17 bill




11.       COSTS

          A.      BSEA # 1502427
                  9/3014 - 3/4/16

Copies - Internal                                                                   $ 263.40
Express Mail - Postage                                                              $   49.08
Online Research                                                                     $ 534.72
Travel - includes mileage at $0.42/mile, tolls,                                     $1,159.64
         Lodging/meals during hearing

                                          TOTAL COSTS BILLED AND PAID               $2,006.84



          B.      UNITED ST ATES DISTRICT COURT
                  Civil Action No. 16-10724-F.DS
                  4/7/16-1/25/17

Copies - Internal                                                                   $ 101.40
Filing Fee/Court costs                                                              $ 400.00
Online Research                                                                     $ 1,229.71
Travel - includes mileage at $0.42/mile, tolls, parking                             $ 603.79

                                          TOTAL COSTS BILLED AND PAID               $    2,334.90



                                                                                                      2
       Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 39 of 96
         Case 1:16-cv-10724-FDS      Document 62-1   Filed 06/06/17   Page 4 of 4




111.    ADDITIONAL COSTS AND FEES INCURRED NOT RELATED TO BSEA
        PROCEEDING OR UNITED STATES DISTRICT COURT ACTION

Public Records/Open Meeting Law,
Student Record Requests,
Complaints Against Licenses Of
Three School Nurses And
The Athletic Trainer

              @                          Attorney/Paralegal

37.8 hours    @      $225.00/hour        Mary Ellen Sowyrda, Tami             $8,505.00
                                         Fay, D.R.M. Ehrens

                     TOTAL ATTORNEYS' FEES BILLED AND PAID                    $8,505.00


                                         COSTS

Public Records/Open Meeting Law,
Student Record Requests,
Complaints Against Licenses Of
Three School Nurses And
The Athletic Trainer

Copies - Internal                                                         $     4.80
Express Mail - Postage                                                    $    20.23

                                    TOT AL COSTS BILLED AND PAID          $   25.03




                                                                                          3
Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 40 of 96
  Case 1:16-cv-10724-FDS Document 62-2   Filed 06/06/17   Page 1 of 29




     EXHIBIT B
              Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 41 of 96
               Case 1:16-cv-10724-FDS                    Document 62-2                Filed 06/06/17               Page 2 of 29




                        MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                            Attorneys at Law
TEL: (617) 479-5000                                 CROWN COLONY PLAZA                                                     FAX: (617) 479-6469
                                              300 CROWN COLONY DRIVE, SUITE 410
                                                         P.O. BOX 9126
                                                     QUINCY, MA 02269-9126


                                             Reprint of Billed Details to Date

                                              LINCOLN SUDBURY RS D (SPED)
                                                     ALEXANDRA S.


For Professional Services Rendered                                                                                   Hours       Rate
08/21/13        MES      Review-t> f letter from the parents' attomey; eall to the speeial edueatien                   0-:48     $225
                         office; call to the pttrents1 attorney
08/21 /I 3      MES      Re·, iew ef ret1ttest far ,·eeeres fretfl the pareflts' att6rney                              ~         $225
08/23/13        MES      Const1ltation with the parents' ottomey-1'egt11'ding resol, ing stttdent                      G:4e      $225
                         ree6rds l sst1es
09/24/ 13       MES      Review of letter te the St1perinteadef!HegflrdiHg Litwrenee Aeademy                           !BG      $225
                         pliteemen~nt e-mail
I 0/10/13       MES     Review ef e mail regerdiAg stttdeftH'eeerds; te eel! the special edttefttlmt                   !BG      $225
                        effiee regereliflg seme
I 0/11 /13      MES     Re¥iew-ef.l etter ttJ be seflt le fll!:Fefllil reg11:rcl iflg reeertls ftfld due preeess       G..2{l   $225
                        ttr~
I 0/16/13       MES     Review eftf!ess11:ge from tke pa1·ents' ettorne!)'; eall to tlte special                       G..2{l   $225
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I 0/17113       MES     Censt1ltation with effiee; rett1rned eall to the f)ftt'ems4tttomer,,ett1Ho                     9:49     $225
                        seheol persoll-Ml
l 0/18/13       TF      Updated Atte~meil eeet1t shtdent-reeerds lsst1e                                               9,-Hl     $225
I 0/18/13       MES     Conferenee e0II with the speeial edtteetioH offiee 11:nd the Bttsil'less                      g...+Q    $225
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                        from 13nrents
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                        r~fe..ma-ils regardiHg r,arents' eleitfls efl'eeords vieletions
11/04/13        MES     Re•riew efe mail from Glenn Frettot-eft!.jea-the-J)arents' attorney                           ~         $225
                        regflt'ding represeFttatien stB:ttts, e mailed Glef!H Ftetto
I I /05/ 13     MES     B-rfl&Hee-sehoel perseRRel regel'ding 1:1tuer,resented status of 13arents                     ~         $225
11/06/13        MES     F.e¥iew efmessage fFem seheel's Business Manager, Glenn Fratto,;                              9:49      $225
                        e&FISl¼ltat-ien with GleRn Fratto regarding ease stattts

                  3/7/2017                                   LINC04 / 00035                                                     Page 1 of28
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 42 of 96

             Case 1:16-cv-10724-FDS                   Document 62-2              Filed 06/06/17             Page 3 of 29




 11/06/13     MES      Re¥iew of e meil-frem-seoool eEimiRistFetioR FegaraiRg reeorEis isstt~                   {h6{l       $225
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                      to the Boars ofN1:1rsiRg
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02/27/14     DME     Draft clistriet respoRse to eOFflpleiflt against ethletfe.t.raifter; E mail to            h6G         $225
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02/28/14     DME     Getresf'enElel'l0e to investigator Aliag athletie-tmifler's respofl9e-ftfle               ~           $225
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03/04/14     DME     CerrespentleAee to iw1estigator eeAeerning clistriet's respeF19&46                        ~           $225
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               3/7/2017                                 LINC04 / 0003S                                                     Pagel of28
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 43 of 96

             Case 1:16-cv-10724-FDS Document 62-2                          Filed 06/06/17 Page 4 of 29




03/26/14      DME     PrefJBfe attditm's letteP StlfflfflBry                                         G-:-i-8    $225
04/11/14      DME     Telephone oonfeFenee with Dr. Aiaa Ramos eeiieeming sttttt1s                   G-:-i-8    $225
05/12/14      DME     Review-eorrespontlenee h'6tfl parents• att6mey; Re,iew file and draft          ~          $225
                      lengthy response
06/10/14      DME     Tel•ew          :;:::;::~ Dr. Aida Ramos and-review-e-mail se~t by             ·~         $225
                      the                          dents ~t'h6se names-aHegedty-ttppeared m e•
                      mail; Gheelt records fer eitaHen; Search b 8 r,e.lieies fur notiee of what·
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                      Re¥iew Hetiees Ofl lifl¼~raA: respense letter te 8helagl, Bavenport
06/16/14      DME     Re-v-iew respot1se to - eemr,htiftt ageinst ethletie trainer, E•mail           MO         $225
                      eHeHt eot1eerfliflg same encl furwartling eopy
09/26/14      MES     Consultation with Attorney Ehrens regarding hearing request, child find        0.30      $235
                      claims and student's profile in Lincoln Sudbury
09/26/14      DME     Read and analyze lengthy hearing request; Telephone conferences with           3.00      $225
                      Dr. Ramos concerning same and meeting with teachers and staff;                 -1.5
                      Re¥iew .ElthleHe ll'Biner and-sehoel m1rses investigations, ~eler,hor,e
                      call to Departmefll 6f Pttblie Health eoneerning-sttttus ofeotnr,laint
                      against seheel-nersee am! email Dr. Ram6s
09/29/14      DME      E-mail communications with Anne O'Reilly concerning Notice of                2.60       $225
                     · Hearing and arranging for interviews with teachers and staff; Review
                       notice and calendar dates; E-mail Ms. Sowyrda concerning privileged
                       communications in September, 2013; E-mail cwmunication with Dr.
                       Ramos concerning her contact with the - ana scheduling resolution
                       session; Prep for meeting with staff and teachers - questions
09/30/14     DME      To and from Lincoln-Sudbury Regional High School for day long                 9.00       $225
                      interviews with teachers and staff concerning hearing request                 -2.0 Travel @$175 per hour
10/01/14     DME      E-mail communications and telephone conferences with staff to follow-         7.50       $225
                      up on additional information, documentation requested and with Dr.
                      Ramos concerning student's attendance during 2013-2014 school year;
                      Review new documentation forwarded; draft response to extensive
                      hearing request
I 0/02/14    DME     E-mail communications with client and staff in follow-up to interviews;        2.50       $225
                     Additional document review and finish revising/editing response to
                     hearing request; Filing correspondence and fax memos; Telephone
                     conference with Dr. Ramos concerning response
10/03/14     DME     Telephone conference with Dr. Ramos concerning response to hearing             0.20       $225
                     request, resolution session dates/times offered for I 0/6 and I 0/7
10/06/14     DME     Prepare postponement request, request for production to parents, and           0.70       $225
                     filing correspondence
10/07/14     DME     Telephone conference with Dr. Ramos concerning today's resolution              0.20       $225
                     session
I 0/14/14    DME     Lengthy conference call with hearing officer and prose parents ( 1.5); E-      1.70       $225
                     mail client concerning same and with dates for hearing

               3/7/2017                                 LINC04 / 00035                                         Page 3 of28
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 44 of 96

             Case 1:16-cv-10724-FDS Document 62-2                         Filed 06/06/17 Page 5 of 29




l0/15/14      DME     Consultation with Ms. Sowyrda; Document review; Scan and e-mail                 1.50   $225
                      head injury report to parent
I 0/15/14     MES     Review of issues for hearing with Attorney Ehrens                               0.30   $235
10/16/14      DME     Review e-mail from Dr. Ramos and respond; E-mail parents with dates             0.50   $225
                      and concerning hearing location; Correspondence to hearing officer
                      concerning hearing dates
10/22/14      DME     Review and analyze and draft comments/objections to parents request            2.50    $225
                      for production of documents and interrogatories
I 0/23/14     DME     E-mail parents about discovery requests and BSEA rules; E-mail client          3.00    $225
                      concerning which document requests and interrogatories to work on,
                      what to look for, who needs to participate in answering
10/29/14      DME     Begin drafting objection to parents' discovery requests; Review e-mail          1.30   $225
                      from parents and second set of interrogatories and second request for
                      production
I 0/30/14     DME    Review BSEA Order setting hearing dates and due date for exhibits and           5.10    $225
                     witness lists; E-mail to client; E-mail response to parents' response to e-      -0.3
                     mail asking them to eliminate irrelevant and excessive; Lengthy
                     telephone conference with Dr. Ramos; Finish objection to parents
                     interrogatories and requests for production; Correspondence to BSEA;
                     Effectuate service; telephene eMferenee-w#l~ewlM:tt
                     Beparttttent ef I [ealth, Divisien ef l [ealth Prefessieas Llee11s1ue1 E matt
                     el1ent with stattts efthe investigatteftj Draft second request for
                     production to parents
10/31/14      DME    Finish drafting Second Request for Production to Parents and finalize;          3.50    $225
                     Filing correspondence and fax memo; Check into Beacon program and e-
                     mail Dr. Ramos concerning when the program began; Brief research
                     concerning medical diagnoses and section 504; Draft objections and
                     response to parents' second request for production of documents
11/04/14      DME    Telephone conference with client concerning discovery; Telephone                0.30    $225
                     conference with Hearing Officer Figueroa to confirm needs for framing
                     issues and concerning objection ~ with BSEA but not served on
                     Lincoln-Sudbury                 ft led

11/06/14      DME    Review parents' lengthy correspondence to hearing officer and their             0.50    $225
                     objections to Lincoln-Sudbury Regional School District's Second
                     Request for Production of Documents; Review responses from Spanish
                     teacher to interrogatories; Attempt to open other responses, forward to
                     assistant
11/07/J 4     DME    E-mail communications with Dr. Ramos; Review teacher answers to                 He      $225
                     interrogatories and follow-up; Telephone conference with Dr. Ramos; B-          -1.0
                     mttil etlrnmunieatitms with D1 Remos-ee~l*'fl
                                                    1
                                                     •

                     meeting-½ttwll-rqttes-ts,review-reqt1e5ts;-ette~nEI with. haw ta respo11d
t 1/08/14     DME    Further e mail eemmttniefttieM-With Dr. Rames eeneernil'lg "epel'l              0.40    $225
                     mceti~ts, review additieaal reEjttest9,efld-edvise                              -0.3
                     co1,eendng reepense, as well as reviewing response concerning pole
                     vaulting issue

               3/7/2017                                  LINC04 / 00035                                      Page 4 of211
             Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 45 of 96
              Case 1:16-cv-10724-FDS              Document 62-2           Filed 06/06/17          Page 6 of 29




 11/12/14      MES     Consultation with Attorney Ehrens regarding issues for hearing                 0.20    $235
 11/12/14      DME     Review BSEA Order; E-mail Ms. Vasudevan concerning motion to                   0.50    $225
                       dismiss; E-mail order to Dr. Ramos; Review wellness teacher's answers
                       to interrogatories
 11/13/14      DME     Conference with Ms. Vasudevan concerning motion to dismiss and                 2.50    $225
                       restating legal issues; Review more interrogatory answers; work on
                       drafting answers to interrogatories; E-mail communications with Dr.
                       Ramos with questions; Telephone conference with Attorney Tobin for
                       Sudbury; Call in to Attorney Mercier
 11 /14/14     DME     Work on answers to interrogatories, including e-mail communications            3.80    $225
                       with Dr. Ramos
 11/17/14      DME     Review math teacher's answers to intcn·ogatories; E-mail                       1.50    $225
                       communications with Dr. Ramos; Review interrogatory answer
                       information from two wellness teachers; Work on answers
 11/18/14      DME     E-mail communications with client concerning request for production            0.20   $225
                       and responses
 11/] 9/14     FSC     Researched and drafted motion to dismiss.                                      0.80   $225
 11/20/14      FSC     Drafted motion to frame the issues.                                            1.50   $225
11/20/14       FSC     Researched and drafted a motion to dismiss.                                    7.20   $225
11/20/14       DME     Conference with Ms. Vasudevan concerning motion to dismiss; E-mail             0.60   $225
                       communications with client concerning discovery; Calls in to Dr. Ramos
                       and Anne O'Reilly; Review e-mail from parents with their comments on
                       the hearing officer's issues and their motion to dismiss
11/21/14       FSC     Edited motion to frame the issues.                                             0.40   $225
11/21/14       DME     Conference with Ms. Vasudevan concerning motion to dismiss and                0.20    $225
.11/25/14      DME     Draft, edit, and revise correspondence to hearing officer concerning          2.30    $225

                                                  respond9iton
                       issues for hearing; Fax memo to BSEA; Begin going through extensive
                       documentation received to
                       mail where parents allegedly state
                                                                         requests; Search fore·
                                                                     not disabled
                                                             a   IS.
11/26/14       DME    Reviewing documentation for production requests; Work on discovery;            4.00    $225
                      E-mail parents for recordings and Children's Hospital concussion clinic
                      records; Work on motion to dismiss
11/28/14       DME    Review e-mail response from parents concerning Lincoln-Sudbury's               0.30    $225
                      request for recordings of meetings, Children's Hospital concussion clinic
                      records, and all doctor's notes; Respond
12/01/14       DME    Draft Release to authorize Children's Hospital to release records and          5.30    $225
                      communicate; Research imP ACT testing; E-mail communications with
                      client; Research for memorandum in support of motion to dismiss;
                      Discovery
12/02/14       DME    Work on motion to dismiss; Additional research; E·mail parents'                4.80    $225
                      response to first production request, item 2
12/03/14       DME    Work on motion to dismiss; Additional research; E-mail client                  2.90    $225
                3/7/2017                             LINC04 / 00035                                          Page 5 of28
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 46 of 96

             Case 1:16-cv-10724-FDS              Document 62-2            Filed 06/06/17           Page 7 of 29




12/04/14      DME     Continue work on motion to dismiss; Additional research; E-mail client           3.00    $225
12/05/14      DME     Final proofofmemorandum in support of motion to dismiss/for                      3.00   $225
                      summary decision and make edits; Revise motion and edit; Prepare
                      Response to Parents' Motion to Dismiss; Correspondence and fax memo
                      to BSEA
12/08/14      DME     Review correspondence and begin review of recording of May 12, 2013              3.90   $225
                      meeting; Notes concerning location on recording of specific information
12/09/14      DME     Continue listening to and taking notes from flash drive with recordings          3.50   $225
                      of meetings from parents; Incorporate teacher's responses to
                      interrogatories into answers
12/10/14      DME     Finish drafting answers to interrogatories/revise, edit; Research BSEA           3.30   $225
                      504 cases; Review parents' response to Lincoln-Sudbury's response to
                      parents' motion to dismiss
12/11/J 4     DME     Final edits to answers to interrogatories and e-mail to client                   0.60   $225
12/12/14      DME     Begin drafting answers/objections to second set of interrogatories;              2.50   $225
                      Review correspondence to hearing officer from parents responding to
                      Lincoln-Sudbury's response to parents' motion to dismiss and Lincoln-
                      Sudbury's motion to dismiss/for summary decision
12/15/14      DME     Review Dr. Ramos' comments/questions, make changes to answers and                3.00   $225
                      respond to comments; E-mail to Dr. Ramos; Finalize answers to second
                      set of interrogatories; Go through documents and finalize first 19
                      responses to requests in first document request
12/16/14      DME    E-mail communications with client concerning school physician on call             0.50   $225
                     and response to second request for production; Review client's
                     comments to draft answers and edit accordingly
12/17/14      DME    Telephone call in to Dr. Ramos; Telephone conference with Anne                   4.20    $225
                     O'Reilly to follow up on signature page for answers to interrogatories;
                     Locate June, 2013 doctor's note; E-mail answers to client for signature;
                     Finalize supplemental memorandum in support of motion to dismiss;
                     Review and analyze parents' "motion to oppose" motion to dismiss
12/18/14      DME    Revise and edit supplemental memorandum; Correspondence to hearing               2.80    $225
                     officer and effectuate filing; Continue finalizing answers to
                     interrogatories and document request responses; E-mail parent with
                     supplemental memorandum
12/19/14      DME    E-mail communications with client/reviewing communications with the              6.00    $225
                     - &ncerning their "open meeting law" complaint; Check AG open
                     meeting law complaint provisions and respond to client; Finalize
                     answers to first and second set of parents' interrogatories and response to
                     second request for production; Correspondence to hearing officer
12/22/14      DME    E-mail communications with client and parent; Review parents' response           5.00    $225
                     to supplemental memorandum, parents motion to compel compliance
                     with BSEA rules, motion to compel answers to second request for
                     production and to first and second sets of interrogatories; Draft and
                     finalize reply to response to supplemental memorandum; Draft and
                     finalize opposition to motion to compel; Filing correspondence to

               3/7/2017                              LINC04 I 00035                                           Page 6 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 47 of 96

            Case 1:16-cv-10724-FDS               Document 62-2           Filed 06/06/17           Page 8 of 29




                     BSEA; Begin drafting opposition to motion to compel production of
                     documents requested in parents' second request for production
12/23/14     DME     E-mail communications with client; Work on oppositions to motions to             3.10    $225
                     compel and replies
12/29/14     DME     Opposition to motion to compel answers to first set of interrogatories;          6.70   $225
                     Opposition to motion to compel answers to second set of interrogatories
                     and response to second set of documents; Filing correspondence to
                     BSEA
12/30/14     DME     Review e-mail and multiple letters from parents; Continue work on reply          6.80   $225
                     to opposition to motion to dismiss/for summary decision; Organize
                     discovery responses
12/31 /14    DME     Revise responses to document requests; Check and organize copies of              4.00   $225
                     documents for production to finalize; Correspondence and fax memo to
                     file response with BSEA and serve response with documents on parents
01/02/15     DME     Document review                                                                  0.50   $225
01/05/15     DME     E-mail communications with client concerning AG open meeting law                 0.10   $225
                     investigation
                                                                                  Ws'
01/06/15     DME     ~ e mail fl'em elieflt aml draft letter resi,Oftt!ing-te - open                  ~9     $225
                     meeffllg lewtpttblie reeerds ref!ttes+;-Qeelt sf)eeiHe epplieeble seetions
                     .a-mee~uelle reeerds law; Revise draft resr,onse letter-to
                            ancl e mail te elient with e,tp(alttlff&ft
                         s
01/07/15     DME     Work on reply to opposition to motion to dismiss/for summary decision            1.60   $225
01/08/15     DME    Notes concerning tuition reimbursement arguments; Work on reply to                2.90   $225
                    opposition to motion to dismiss/for summary decision
01/09/15     DME     Finalize opposition to parents' motion to oppose Lincoln-Sudbury's               2.10   $225
                     motion to dismiss- e-mail parents
01/12/15     DME    Review motion to compel response to parents' first set of interrogatories;        3.40   $225
                    E-mail communications and telephone conference with Dr. Ramos
                    concerning additional Information needed; Begin drafting opposition to
                    motion to compel; E-mail communications with Peter Elenbaas and
                    Brandon Dorey
01/13/15     DME    E-mail communications with Dr. Ramos, Peter Elenbaas, Brandon                    4.00    $225
                    Dorey; Prepare objection to parents' third request for production;
                    Finalize draft of opposition to motion to compel; Telephone conference
                    with Paul O'Brien concerning scheduling a conference call with the
                    hearing officer
01/14/15     DME    E-mail communications with client concerning additional information              4.70    $225
                    and documents; Review additional documentation and comments to
                    opposition to motion to compel; Revise/finalize opposition;
                    Correspondence to BSEA and effectuate filing; Draft supplemental
                    response to parents' first request for production; Lengthy conference call
                    with hearing officer and parents and e-mail client (1.6); Draft witness
                    list; Begin drafting exhibit list; E-mail communications with Virginia
                    Blake

              3/7/2017                              LlNC04 / 00035                                           Page 7 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 48 of 96
            Case 1:16-cv-10724-FDS             Document 62-2           Filed 06/06/17          Page 9 of 29




01/15/15     DME     Review e-mail from Dr. Ramos concerning the reason for rejecting the          0.10    $225
                     IEP of a student who suffered a concussion (current school year)
01/16/15     DME     E-mail conununications with Dr. Ramos; Review voice mail and return           0.80    $225
                     call; Review parents' reply to Lincoln-Sudbury's opposition to parents'
                     motion to oppose
01/20/15     DME     E-mail communications with Dr. Ramos concerning parents' filing and           0.20    $225
                     attempt to resend
01/21/15     DME     Review BSEA order concerning discovery and ruling on motion to                1.10    $225
                     dismiss; E-mail communications with Dr. Ramos concerning discovery;
                     Follow-up with IT and Dr. Ramos concerning document she is unable to
                     open
01/23/15     DME     Review e-mail communications and documents from client                        0.50    $225
01/27/15     DME     Review e-mail of fax from Dr. Ramos with resumes                              0.20   $225
01/29/15     DME     Review e-mail from parents; E-mail client concerning same and witness         1.20   $225
                     list; Extensive e-mail response to client concerning parents' lengthy
                     open meeting law e-mail and clients' response; E-mail communications
                     with client
01/30/15     DME     E-mail communications with client • review client's comments to               0.40   $225
                     response to parents' e-mail and respond
02/02/15     DME     Review e-mail and attachments from parents (filing correspondence,            4.20   $225
                     response to production request, doctor reports); E-mail communications
                     with Dr. Ramos, including review ofSC's proposed letter to the - Ws
                     and Wicked Local-vestiate~c~ool                  physician issue and issue
                     concerning son at            ~~'ffi tl5~aPe° ts concerning discovery rules
                     and objection re. more than 2~es; Begin Brandon Dorey
                     direct examination; Work on                    cross
                                                     rs. .
02/03/15     MES     Student record and discovery issues reviewed with Attorney Ehrens            0.30    $235
02/03/15     DME    Review mother's response to school committee chair's e-mail                   6.20    $225
                    communications with client concerning alleged invasion of privacy
                    issue; Review parents' letter to hearing officer and motion to compel
                    compliance with BSEA's 1/14 order;
                    Telephone conference with Dr. Ramos (22:56); Begin work on
                    opposition to parents' motion to compel compliance and production
02/04/15     DME    Extensive work on supplemental discovery response; Correspondence             5.70    $225
                    and fax to BSEA; Research legal issue; Second letter to BSEA
                    concerning accommodations for Dr. Ramos and requesting a conference
                    call prior to the hearing; E-mail communications with client (& school
                    nurses)
02/05/15     DME    Review and finalize supplemental production and effectuate filing and         1.70    $225
                    service; Telephone conference with Dr. Ramos (9:52) concerning
                    responding to mother and her check for records; Review and respond to
                    e-mail communication from school nurse concerning contacts with
                    school physician
02/06/15     DME    Hearing preparation; Witness list and questions; Work on exhibits; E-         4.IO    $225

              3/7/2017                            LINC04 / 00035                                          P11ge 8of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 49 of 96

            Case 1:16-cv-10724-FDS Document 62-2 Filed 06/06/17 Page 10 of 29




                     mail communications with client; Review parents request for
                     postponement of hearing; E-mail client concerning same
02/08/15     DME     E-mail communications with client concerning parents' proposed hearing       1.00    $225
                     dates; Begin drafting response
                           .                                                     witness
02/10/15     DME     E-matl communications with Attorney Lyons concerning Jennifer                6.40    $225
                     O'Neill; Review parents' correspondence lo hearing officer concerning
                     subpoenas; Correspondence to BSEA concerning same; E-mail
                     communications with parents concerning same and documents sent
                     out/investigate their unreliability claims; Opposition to request for
                     postponement and filing correspondence
02/11/15     DME     Review e-mail and correspondence from parents, forward to client, and        3.60   $225
                     respond with a request for a conference call; E-mail communications
                     with client; Work on choosing exhibits for hearing and exhibit list; E-
                     mail communications with Dr. Ramos and Anne O'Reilly
02/12/15     DME     Continue work on choosing exhibits for hearing and exhibit list;             5.50   $225
                     Telephone conference with Paul O'Brien concerning sch-
                     conference call; Work on cross examination questions -             Wallis
                     - E-mail communications with client concerning various issues,
                     documents, U.S. History scores; Supplement exhibit and witness lists;
                     Superintendent's possible testimony
02/13/15     DME     Review voice message from BSEA concerning scheduling conference             5.20    $225
                     call and calendar same; E-mail communications with client; E-mail
                     parents with school physician information; Review e-mail
                     communications and organize and redact for production; Second
                     supplemental response to parents' first request for production;
                     correspondence to BSEA concerning same; E-mail supplemental
                     response to parents; Work on Dr. Ramos direct exam; Witness
                     preparation notes
02/16/15     DME     Prepare exhibit books (Professional Courtesy Discount 7.0 hours)            9.00    $225
02/17/15     DME    Finalize Exhibit Book; Correspondence to hearing officer; Lengthy            4.6G    $225
                    conference call with hearing officer and parents (2:34: 18) e-mail           -2.0 Professional Courtesy
                    communications with client concerning conference call; Review request             Discount
                    for production to parents and e-mail parents with the requests to which
                    they must respond; Prepare list of exhibits to propose as joint exhibits
                    per hearing officer's instructions and e-mail parents concerning same
                    (Professional Courtesy Discount 2.0 hours)
02/18/15     DME    Telephone conference with client concerning hearing dates;                   5.70    $225
                    Correspondence to hearing officer and correspondence to parents
                    concerning dates; E-mail communications with client, including
                    forwarding letters for approval; E-mail communications with Brandon
                    Dorey concerning Lawrence Academy math; Research Lawrence
                    Academy, Frank Mastrangelo, athletic trainer and alleged concussion
                    expert; Telephone conference with Mr. Mastrangelo concerning his
                    testifying (he did not know anything about it) and inquiring about his
                    credentials
02/19/15     DME    E-mail communications with client concerning letters to hearing officer      5.50    $225
                    and parents - approved to send; Call in to Frank Mastrangelo, athletic
              3/7/2017                            LINC04 / 00035                                         Page 9 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 50 of 96
            Case 1:16-cv-10724-FDS            Document 62-2           Filed 06/06/17          Page 11 of 29




                     trainer and alleged concussion expert and follow-up e-mail to him
                     concerning his credentials/qualifications; Lengthy telephone conference
                     with Brandon Dorey and follow-up to locate and print Lawrence
                     Academy mathematics and history course lists for exhibit book; E-mail
                     communications with hearing officer and parents concerning possible
                     hearing dates; E-mail communications with client concerning same and
                     witness preparation
02/20/15     DME     Review e-mail to hearing officer from parents; Research Landmark              6.70    $225
                     website for profile of Kimberly Hildebrandt; E-mail Kimberly
                     Hildebrandt; Print/prepare Kim Hildebrandt outreach page for cross;
                     Research Landmark math classes and print/prepare exhibit for cross;
                     Prepare Hildebrandt cross; Supplement Dorey direct; Begin Gilman
                     direct; E-mail client concerning Gilman iPass progress report or grade
                     book; Review e-mail from hearing officer and mother
02/23/15     DME     E-mail communications with client concerning hearing dates and school         4.10    $225
                     committee documents sent to parents, but returned by FedEx; Review e-
                     mail from Landmark math tutor and her CV; E-mail communications
                     with Brandon Dorey concerning same; Research math curriculum at
                     Landmark for purposes of tutor's experience; Continue drafting and
                     supplementing witness questions based upon research and
                     communications
02/24/15     DME     E-mail communications with client concerning hearing dates, math tutor;      3.10     $225
                     E-mail math tutor with questions; E-mail Brandon Dorey; Telephone
                     conference with Varsity Tutors and going rate in area for tutors; Review
                     BSEA order and forward to client; Witness questions (Kim Schultz.
                     supplement prior drafts re. Brandon Dorey, Joshua Gilman)
02/25/15     DME     Re·,iew e mail fren1 13areftt-eefteemiHg 013en-MeetiHg Law deettment         ~        $225
                     FeEf\lestt-J;-mail eemm1:1nieatiens with eliettt-eefl~ Work on               -1.0
                     examination questions (Schultz, Belmont, Stoda)
                                                                          Ws
02/26/15     KEY     Conference with Attorney Ehrens concerning the - and parents'                0.60     $225
                     credentials.
02/26/15     DME    Review correspondence from parents (dated 2/25/15) concerning request         6.60     $225
                    for subpoenas, subpoenaing school committee chair and superintendent
                    and draft response; Draft, edit, and finalize responsive correspondence;
                    E-mail communicatiorlA,with client; Conference with Ms. Ciampoli
                    concerning the - ant research~fil\tB~Wiail communications with
                    L ynn C arson
                              I           . - aoca1ste -page
                                  concernmg                          er d ecisron
                                                                             . . an d review
                                                                                         .
                    same; More hearing preparation
02/27/15     DME    Review e-mail communications and head injury policy forms and                 0.40    $225
                    documents from Anne Kramer, Timothy Jason, and Joshua Gilman from
                    client; call in to client; E-mail client concerning submission of
                    concussion protocol; E-mail client and - Ws
03/02/15     MES    Consultation with Attorney Ehrens regarding procedural issues at the          0.20    $235
                    BSEA (scheduling over parents' objection)
03/02/15     DME    Review documents from client responsive to hearing officer's order; E-        1.00    $225
                    mail English/U.S. History documents from teachers to parents with new
                    head injury protocol documents
              3/7/2017                            LINC04 I 00035                                          Page 10of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 51 of 96

            Case 1:16-cv-10724-FDS Document 62-2 Filed 06/06/17 Page 12 of 29




 03/03/15    DME    Correspondence and fax memo to hearing officer and parents concerning         1.90     $225
                    availability for hearing; Correspondence and fax memo to hearing
                    officer for 3/4/15 concerning parents' failure to comply with order to
                    supplement their response to Lincoln-Sudbury's document request and to
                    provide their availability for hearing
 03/04/15    DME    Review parents' 17-page letter; Telephone conference with Dr. Ramos;          5.70     $225
                    Correspondence to BSEA objecting to any further postponement;
                    Review BSEA ruling on Lincoln-Sudbury's objections to subpoenaing
                    Bella Wong and Rhada Gargeya and parents' document request #8 and
                    forward to client with comments; Review e-mail from parents in
                    response to my letter objecting to further postponement; Review e-mail
                    from hearing officer referencing clarification order; Review clarification
                    order; E-mail client
03/05/15     DME    E-mail communications with client; Review parents' complaint about            3.20     $225
                    breach of confidentiality and e-mail to client concerning School
                    Committee letter; Review communications related to open meeting
                    law/public records requests in light of hearing officer's¼ clarification
                    order and correspondence to Dr. Ramos concerning same
03/06/15     DME    E-mail communications with client; Correspondence and fax memo to            0.70     $225
                    BSEA concerning availability for April hearing dates; Serve parents;
                    Update pleadings binder
03/09/15     DME    Review e-mail from mother concerning her intent to respond and               0.20     $225
                    forward to Dr. Ramos with comments
03/10/15     DME    E-mail communications with client concerning status                          0.20     $225
03/11/15     DME    Checking for order scheduling hearing; E-mail Ms. Sowyrda to contact         4.60     $225
                    director about tilings from parents; Review e-mail from BSEA                 -0.1    Dup.
                    concernlrig e-mail communications with client concerning hearing dates
                    and proposals; Supplement examination questions for B. Dorey; E-mail
                    I3. Dorey concerning same; Check for communications from BSEA;
                    Investigate existence of order; Telephone conference with Reece
                    Erlichrnan concerning status, order, and parents' filing; Prepare response
                    and further objection to continued postponement; E-mail Dr. Ramos;
                    Have filing scanned and e-mail to client
03/11/15     MES    Obtained parents' filing at the BSEA; provided to Attorney Ehrens;           0.40     $235
                    consultation with Attorney Ehrens
03/12/15     DME    Prepare response to parents' March 11 filing; Effectuate filing and          4.60     $225
                    service
03/13/15     DME   Review BSEA order scheduling hearing, discovery, and reference to             4.90     $225
                   clarification order; Telephone conference and e-mail communications
                   with Dr. Ramos concerning hearing not postponed and scheduling
                   witness prep; Work on witness questions· Supplement C. Belmont and
                   M. Stoda questions, Shultz direct, Gilman direct
03/13/15     MES   Review of recent BSEA rulings with Attorney Ehrens                            0.20     $235
03/16/15     DME   E-mail communications with client concerning status                           0.20    $225
03/18/15     DME   Telephone conference with Dr. Ramos concerning correspondence from            1.60    $225
              3n/2017                              LINC04 / 00035                                        Page 11 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 52 of 96
            Case 1:16-cv-10724-FDS            Document 62-2           Filed 06/06/17          Page 13 of 29




                     public records division; Review correspondence from~ub\w records
                     division and earlier communications with-coWcerriing public
                     records req_uests; Draft response; E-mail Dr. Ramos
03/19/15     DME     Email elient and mail eerreseendeeee to St:tpervisor ofReeords; Follow-       3.00     $225
                     up on any filing from parents and email client with status; Review            -0.5
                     documents for additional exhibits/chalks
03/24/15     DME     Review messages from Paul O'Brien at BSEA; Telephone conference               4.60    $225
                     with Paul O'Brien concerning availability for conference call today; E-
                     mail client; Telephone conference with Reece Erlichman inquiring about
                     whether parents filed anything new; Review parents' most recent filings
                     and review lengthy filings (for postponement and recusal) faxed and e-
                     mailed from BSEA; Call in to client
03/25/15     MES     BSEA recusal standard reviewed with Attorney Ehrens                          0.20     $235
03/25/15     DME     Further review of parents' motion for recusal and postponement request       6.90     $225
                     and e-mail to client with comments; Prepare opposition to most recent
                     postponement request, correspondence to BSEA and fax and serve bye-
                     mail; Research legal standard for recusal; Prepare opposition to motion
                     for recusal; Correspondence to BSEA and fax and serve by e-mail
03/26/15     DME     Review subpoenas issued by the BSEA for Nancy O'Neil, Rhonda Taft-           2.20     $225
                     Farrell, and Scott Carpenter; Call from Dr. Ramos and return call; E-
                     mail Dr. Ramos concerning contacting Brandon Dorey for hearing prep;
                     Telephone conference with Dr. Ramos in follow-up on request for
                     postponement and motion for recusal; Supplement witness list;
                     Additional hearing prep and work on exhibit list and documents; E-mail
                     communications with Attorney C. Lyons concerning witness Nancy
                     O'Neil
03/27/15     DME     E-mail client concerning updated status and any rulings on patents'          4.80     $225
                     motions and concerning contact with Scott Carpenter; E-mail Brandon
                     Dorey concerning discussing examination questions; Lengthy telephone
                     conference with Brandon Dorey concerning examination questions (2.0);
                     Conference with IT concerning printing new exhibit from webpage; E-
                     mail communications with client concerning additional cvs for exhibit
                     book; Witness questions
03/30/15     DME    Review correspondence from BSEA and 3-25-2015 Order concerning                4.20    $225
                    request for postponement and other related matters; E-mail client
                    concerning same; Telephone conference with client; Check, supplement,
                    and finalize all exhibit books and witness list and effectuate filing and
                    service; Hearing prep; Review parents' correspondence in response to
                    hearing officer's 3-20-2015 order
03/31/15     DME    Effectuate delivery of exhibit book and witness list to BSEA and              2.80    $225
                    parents; Forward correspondence from parents to client; Telephone
                    conference with client concerning status and issue concerning Scott
                    Carpenter; Review e-mail from Nancy O'Neil and respond; Further e-
                    mail communication with N. O'Neil; E-mail communications with client;
                    Review parents' witness list, forward to client with comments,
                    investigate unknown witnesses; Conference with Ms. Sowyrda
                    concerning status; Review message from Attorney

              J/7/2017                            LINC04 / 00035                                          Page 12 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 53 of 96
            Case 1:16-cv-10724-FDS                Document 62-2          Filed 06/06/17       Page 14 of 29




 03/31/15    MES         Consultation with Attorney Ehrens regarding litigation matters and        0.30      $235
                         parents' ongoing complaints
                                                               Ws
 04/01/15    DME     Call in to Attorney Terry concerning    1111   Open Meeting Law requests      4.50      $225
                     and leave message; E-mail communications with client concerning                -0.1
                     insurance claim for Sept. 30, 2012, injury; Update pleadings and witness
                     folders; Review e-mail from SPED office concerning question about use
                     of school's insurance for dental/doctor visits; Hearing preparation
04/02/15     MES     Consultation with Attorney Ehrens regarding subpoenas and                     0.20      $235
                     presentation of witnesses for BSEA hearing
04/02/15     DME     Hearing prep including e-mail communications with client; E-inail             3.10      $225
                     communications with school nurses; Telephone conference with Dr.
                     Ramos; Draft letter to hearing officer, revise, and fax; E-mail
                     communications and telephone conference with attorney for Monomoy
                     (Roseann DiPietro) and review Dr. Ramos' e-mail communications with
                     Scott Carpenter
04/03/15     DME     Continue hearing preparation, including editing B. Dorey direct/cross        5.50      $225
                     exam questions, preparing table of progress reports for use in
                     examination, drafting Nancy O'Neill cross and Kramer direct; Review
                     BSEA's Notice of (administrative) Reassignment and e-mail to client;
                     Telephone conference with client; Review Monomoy's counsel's motion
                     to quash subpoena of Scott Carpenter and e-mail to client
04/03/15     MES     Consultation with Attorney Ehrens regarding reassignment of hearing          0.20      $235
                     officers and strategy
04/06/15     DME     To and from Lincoln-Sudbury Regional High School for witness                14.00 $225
                     preparation; Hearing preparation                                            -2.0 Travel @ $17!> per hour

04/07/15     MES     Consultation with Attorney Ehrens regarding BSEA proceedings                 0.20      $235
04/07/15     DME     To and from BSEA in Boston for hearing; Review parents' lengthy last-        6.50      $225
                     minute motion for postponement of the hearing as well as her response        -1.5   Travel @ $175 per hour
                     to the BSEA's 4/3 order denying parents' last request for postponement
                     except for on 4/9; Conferences with client, witness, BSEA
                     administrator, court reporter concerning case status; Open hearing and
                     go on the record to address the postponement, oppose it and move to
                     dismiss the case, address Scott Carpenter's motion to quash and future
                     subpoenas, dates, location of hearing, address and admit exhibits
04/08/15     DME    Review Dr. Ramos' e-mail to administration and staff summarizing              0.40      $225
                    events of 4-7-2015 hearing and respond with comments; Review e-mail
                    from staff/proposed witnesses
04/13/15     DME    Review and respond to e-mail communication from Superintendent; B-            ~        $225
                    mail eemmunieatie11s with Attemey-+effY                                       -0.1

04115115     DME    Review order quashing subpoena to Scott Carpenter and forward to              0.10     $225
                    client and Attorney Long
04/20/15     DME    Review hearing officer's Ruling on Parents' Motion for Postponement          0.50      $225
                    and Lincoln-Sudbury's Motion and e-mail to client with comments
04/27/15     DME    E-mail communications with client concerning order on parents' motion        0.10      $225

              3/7/2017                               LINC04 / 00035                                        Page 13 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 54 of 96

            Case 1:16-cv-10724-FDS Document 62-2                          Filed 06/06/17 Page 15 of 29




                      for postponement and district's motion to dismiss
05/14/15     DME      f~e. 801Ttp!aint against nersee Review m~r-EHen                               3-:ee    $225
                      Sftndier; Length) telephone-eenferettee l'l·iHt ifl'l'estigttter; be11gthy
                      telephone eenferenee with Jan Cavallo; R:eview eonettssion regttlations
                      and L S potieies;-Memo re. notes ef ee1wersatien and eoneusstt)tri,tmey
                      and administratien infermation
05/18/15     DME      bength,i telephene eonfereftee with flttrses: Sttpplemeftt file notes;        h4e      $225
                      l::engthy telephone eonfereftee y,iith Ellell Sat1dler (lieet1sing~
                                                  Wallis
06/25/15     DME      Review article concerning- and college attending in the fall                 0.10      $225
                      and file in OMS
I 0/24/15    DME      Review letter to hearing officer from parent and forward to client           0.20      $225
I 0/28/15    MES      Consultation with Attorney Ehrens regarding case status; pending             0.20      $240
                      litigation
10/28/15     DME      Review voicemail message from client and return call to Dr. Ramos; E-        0.20      $225
                      mail Dr. Ramos
                                                                              state
10/29/15     DME      Telephone conference with Dr. Ramos; Brief review of    11111 court          0.50      $225
                      complaint; Review November 9, 2014, and January 14, 20 I 5, orders and
                      ruling and e-mail Dr. Ramos concerning issues to be addressed in BSEA
                      proceeding and failure to exhaust administrative remedies
11/02/15     DME      Review letter from parent to hearing officer requesting subpoenas sent       0.80      $225
                      by e-mail; Forward to client; Make reservations to stay in Sudbury
                      during hearing
11/03/15     DME     E-mail communications with client coiiiiliiiing~earing prep                   0.70      $225
                     for Monday 11/16; Review letter from                 c rRcc fling her
                     request for subpoenas...nference with Dr. Ramos
                     concerning same and                 letter request for subpoenas
                                            Mrs. s
11/03/15     MES     Consultation with Attorney Ehrens regarding ongoing litigation and            0.20      $240
                     parents' request for subpoenas
11/04/15     DME     Briefly review lengthy letter from parent and e-mail to Dr. Ramos;            0.40     $225
                     review 11/2 letter from hearing officer concerning oral motion made at
                     first day ofhearing in April and forward to client
11/06/15     DME     Review fax from BSEA concerning sending out subpoenas to parents'             1.10     $225
                     witness list; Forward BSEA letter concerning same to client; e-mail
                     Attorney M. Long concerning BSEA's subpoena to Scott Carpenter; E-
                     mail communications with Attorney C. Lyons concerning contacting
                     Nancy O'Neil about new subpoena for upcoming hearing; E-mail Nancy
                     O'Neil; Draft letter to hearing officer concerning Bella Wong's
                     unavailability; Prepare memo re. preliminary issues to address before
                     hearing begins
11/07/15     DME     Review e-mail from witness, Nancy O'Neil and respond                          0.10     $225

11/08/15     DME     Review e-mail from Dr. Ramos concerning Bella Wong's                          0:10     $225
                     unavailability/in Europe with students and respond
11/09/15     DME     Review voice mail from Dr. Ramos; Review BSEA notice of hearing;              5.80     $225

               3/7/2017                             LINC04 / 00035                                          Page 14 of28
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 55 of 96

             Case 1:16-cv-10724-FDS            Document 62-2          Filed 06/06/17          Page 16 of 29




                      finalize letter to hearing officer concerning subpoenas to witnesses,
                      including superintendent and school committee vice chair and moving to
                      quash those subpoenas; Fax memo to hearing officer filing same; E-mail
                      communications with Nancy O'Neil concerning her receipt of the
                      subpoena and her mother's grave illness and her summary of her limited
                      involvement in the matter; Begin drafting motion to quash subpoena to
                      Nancy O'Neil; Draft motion to BSEA concerning stenographer; Review
               Mrs. W                   letter (with exhibits) to Reece Erlichman requesting
                      meeting and need for yet another hearing officer and forward to client
I 1/10/15     MES     Consultation with the special education office regarding recusal motion      0.20    $240
                      from parent
11/10/15      DME     Review e-mail from Nancy O'Neil; Voice mail from Dr. Ramos and               1.20    $225
                      return call; finish drafting and finalize motion to quash subpoena to
                      Nancy O'Neil; Filing correspondence; Serve parents via e-mail; Review
                      parents' e-mail with copy of letter to hearing officer complaining of
                      hearing officer mistakes and requesting additional subpoenas
11/10/15      BRL     Conference with Attorney Doris Ehrens                                       0.80     $225
                                                     Mrs. W
11/11/15      DME     E-mail communications with - concerning yesterday's filing                  2.70     $225
                      and inquiring about number of documents served; Review article
                      reporting that the AG's officMetermined that the alleged open meeting
                      Jaw violations in the1111    cofuplaint were inadvertent; E-mail
                      communications with Attorney Lyons concerning status of motion to
                      quash Nancy O'Neil's subpoena; Telephone conference with Or. Ramos
                      concerning handling court litigation; E-mail Attorney Fine concerning
                      defenses; Hearing preparation - organizational
I l/11/15     MES     Consultation with Attorney Ehrens regarding parents' attempts to            0.20     $240
                      subpoena Individuals to hearing
11/12/15      DME     E-mail communications with client confirming prep time on 11/16 and         3.IO     $225
                      forwarding another copy of the request to quash the subpoenas to Bella
                      Wong and School Committee person; Call to BSEA to inquire about any
                      ruling on the motion; review BSEA order quashing subpoena to Nancy
                      O'Neil with caveat that she could be called at another time; E-mail
                      communications with Ms. O'Neil and Attorney Lyons concerning same;
                      Preparing files for hearing
11/.13/15     DME    Review e-mail from Nancy O'Neil; e-mail communications with Dr.              6.80    $225
                     Ramos concerning status ( of subpoenas/motion to recuse hearing officer,
                     etc.); Review e-mail from court reporter and transcript of the April 7,
                     2015, first day of hearing; Call to BSEA to inquire about subpoena to
                     Bella Wong and School Committee person and spoke with Lydia
                     concerning same and that order has been issued quashing those
                     subpoenas; Review correspondence from Reece Erlichman in response
                     to parents' request for a meeting and to recuse the hearing officer;
                     Lengthy e-mail to Attorney John Davis forwarding him copies of the
                     hearing request; November 9, 2014, order and ruling on Lincoln-
                     Sudbury's Motion to Dismiss; Review order quashing subpoenas to Bella
                     Wong and R. Gargeya and e-mail to Dr. Ramos; Hearing preparation,
                     choose documents to bring, and pack up for hearing
11/16/15      DME    To Lincoln-Sudbury High School for witness prep ;Continue hearing            7.50 $225
               3/7/2017                             LINC04 / 00035
                                                                                                  -1.0 avel @ $175
                                                                                                          P11ge 15 of2
                                                                                                                         car hour
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 56 of 96
            Case 1: 16-cv-10724-FDS             Document 62-2          Filed 06/06/17         Page 17 of 29




                      prep and review e-mail communications from office and from Attorney
                      Roseann DiPietro concerning tilings and review correspondence from
                      BSEA to parents concerning additional subpoenas to Lincoln-Sudbury
                      staff; Review motion and memorandum from Attorney DiPietro
                      representing Monomoy Regional School District and Scott Carpenter
                      concerning subpoena to Scott Carpenter and BSEA Ruling granting
                      motion
11/17/15     DME      To and from Lincoln-Sudbury High School for hearing; Review ruling          10.00      $225
                      on motion to recuse hearing officer; Review excerpt from hearing            -0.8 Travel to/from hotel
                      transcript; E-mail client with questions and ruling; Continue hearing            to LSRHS
                      preparation                                                                  @ $175 per hour

11/18/15     DME      To and from Lincoln-Sudbury High School for hearing; Review ruling          10.60 ·    $225
                      on motion to recuse hearing officer; Review excerpt from hearing            -0.8 Travel @ $175 per.hour
                      transcript; E-mail client with questions and ruling; Continue hearing
                      preparation
11/19/15     DME      To Lincoln-Sudbury High School for hearing preparation and hearing          8.00       $225
                                                                                                   -0.8 Travel @$175' per hour
11/20/15     DME      Return travel from Sudbury to Quincy; E-mail communications with            2.60       $225      ,
                      attorney for Monomoy and Scott Carpenter concerning January dates; E-        - .0 Travel @ $115 per hour
                      mail Attorney C. Lyons concerning Nancy O'Neill and new hearing dates
11/25/15     DME      Review voice message from Attorney John Davis, return call, and leave       0.10       $225
                      message
12/02/15     DME      Lengthy telephone conference with Attorney John Davis concerning            1.10       $225
                      case and BSEA hearing; Review motion to dismiss and memorandum in
                      support thereof
12/03/15     DME      E-mail communications with witness, N. O'Neil; E-i;iail semnninlcatlcn1s    0.20       $225
                      ~ ~ ~ ey who prepares answer                                                 -0.1
                      ~HA eem13IRiAt te be handled by iimu=anse Elefense sol:m6el
12/07/15     DME      Review BSEA order concerning continued hearing dates and times and          0.20       $225
                      letters to Scott Carpenter and Rhonda Taft-Farrell concerning their
                      testimony by phone
12/10/15     MES      Review of ongoing issues for BSEA hearing with Attorney Ehrens              0.10       $240
12/18/15     DME      Review and download e-mail with transcripts of hearing from court           0.10       $225
                      reporter
12/21/15     DME     E-mail communications with Nancy O'Neill concerning her testifying on        0.20      $225
                     January 6
12/22/15     DME     Review correspondence from hearing officer concerning witness Scott          0.50      $225
                     Carpenter; Correspondence to hearing officer concerning witness Nancy
                     O'Neil; E-rnail letter to parents and client
12/31/15     DME     Conference with assistant concerning request by counsel for LS in the        0.20      $225
                     court action for information confirming dates, times, and location of
                     remaining days of the BSEA hearing
01/03/16     DME     Begin review prior to restarting hearing                                     1.50      $225
01/04/16     DME     Review and respond to e-mail from Dr. Ramos; Searching for document          1.80      $225

               3/7/2017                             LINC04 / 00035                                          Page 16 of28
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 57 of 96

             Case 1:16-cv-10724-FDS Document 62-2 Filed 06/06/17 Page 18 of 29




                             Mrs. W
                       from - concerning submitting medical clearance form; E-mail
                       communications with Peter Elenbaas; Nurses
01/05/16      DME      Review e-mail from Dr. Ramos concerning her hospitalization; Draft         3.20    $225
                       letter to hearing officer to notify her and parents of the issue and       -1.0 Travel @ $175 per hour
                       possible need for a postponement; E-mail communications with hearing
                       officer, Reece Erlichman, witness Nancy O'Neil, and Dr. Ramos;
                       Review parents' opposition to any postponement; Telephone calls with
                       Lydia at BSEA concerning scheduling a conference call to address
                       issues; Conference call with hearing officer and parents concerning
                       scheduling; Telephone conferences with Dr. Ramos; Travel to Sudbury
                       for hearing tomorrow
0 J /06/16    DME      To Lincoln Sudbury Regional High School for hearing; reading              7.50     $225
                       transcript; E-mail communications with Dr. Ramos; E-mail                   -0.8 Travel @$175 per hour
                       communications and telephone conference with Attorney Christine
                       Dowling from Pierce, Davis & Politano; Cross-examination preparation
01/07/16      DME      To Lincoln Sudbury Regional High School for hearing; E-mail               7.60     $225
                       communications with Attorney Dowling (with Pierce, Davis, &                -0.8 Travel @ $175 per hour
                       Politano) concerning hearing status; E-mail communications with client
                       concerning status and further proceedings, with witness Nancy O'Neil;
                       Continue reviewing transcript in preparation for closing arguments
0 I /08/16    DME      Return to office from Sudbury; E-mail Dr. Ramos; Lengthy telephone        6.90     $225
                       conference with Dr. Ramos concerning hearing; E-mail existing              -1.0 Travel @ $1 /o per hour
                       transcripts to Dr. Ramos; Work on beginning to draft closing argument
01/11/16      DME      Review BSEA Order re. postponement                                        0.10     $225
01/12/16      DME      Reading transcript                                                        0.60     $225
O I /20/16    DME      Draft correspondence to BSEA; Draft status report pending consultation    0.50     $225
                       with client
01/21/16      DME     Call in to Dr. Ramos and leave message; Review e-mail response from        2.40     $225
                      Dr. Ramos; telephone conference with Dr. Ramos concerning hearing
                      and calling additional witnesses and resting school's case; Additional
                      transcript review
O 1/22/16     DME     E-mail 'communicatlons with parents attaching correspondence to BSEA       3.20    $225
                      and status report; Transcript references and work on closing argument
O 1125116     DME     Continue transcript review for closing argument                            1.90    $225
01/25/16      DME     Review and respond to e-mail from Dr. Ramos concerning conference          0.20    $225
                      call on 1 /22 and update
01/26/16      DME      Work on closing argument                                                  6.10    $225
01/27/16      DME     Work on closing argument                                                   6.70    $225
01/28/16      DME     Review BSEA Order denying parents' motion to reopen to include in the      0.20    $225
                      record documents marked for identification and stating closing
                      arguments due on 2/20; Check calendar for due date of closing
                      arguments scheduled during conference call; E-mail assistant to call
                      BSEA to see if the 2/20 date is a typo; E-mail from assistant concerning
                      call to clerk
                3/7/2017                            LINC04 /00035                                        Page 17 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 58 of 96
            Case 1:16-cv-10724-FDS Document 62-2 Filed 06/06/17 Page 19 of 29




                                           Mrs. W
01/29/16     DME     Review e-mail from                 and e-mail from assistant with BSEA        0.20     $225
                     Order correcting prior order scheduling closing argument due date for
                     2/29
02/04/16     DME     Research; Work on closing                                                     2.30     $225
02/05/16     DME     Work on closing argument                                                      5.80    $225
02/08/16     DME     Cuts and revisions to draft closing                                           3.60    $225
02/10/16     DME     Print draft closing for review and assessment; Begin review for needed        1.00    $225
                     cites to record
02/11/]6     DME     Additional research and memo re. tuition reimbursement; rewriting             4.20    $225
                     arguments
02/12/16     DME     Revisions to closing                                                          2.40    $225
02/15/16     DME     Work on annotating closing with record cites                                  3.50    $225
                                                           closing                  cites
02/18/16     DME     Continue proofreading, revising draft ~; search for transcript eies          5.00     $225
02/19/16     DME     Revising; additional resarch and record citations                            2.20     $225
02/22/16     DME     Work on supplementing draft closing argument; Email communications           4.30     $225
                     with Attorney Dowling (at Pierce, Davis) concerning hearing status and
                     case
02/23/16     DME     Continue work on closing - revisions                                         3.30     $225
02/26/16     DME     Complete most recent revisions, add additional citations from record and     4.10     $225
                     to authorities
02/29/16     DME     Final revisions; final proofread and edit; filing correspondence to the      7.00     $225
                     BSEA; effectuate filing and serve parents; review e-mail from parents
                     with filing correspondence and lengthy parents' closing argument; e-
                     mail to client; initial read-through of parents' closing argument
                                               Mrs. W
03/01/16     DME     Brief conference with                   and sign to acknowledge receipt of   4.70     $225
                     exhibits; review exhibits; e-mail communications and telephone
                     conference with client; evaluate for motions to strike and begin drafting
                     motion re exhibits
03/02/16     DME    Analyse exhibits and work on draf] motion to strike exhibits and              3.20    $225
                    evaluate for objections lo closing argument
03/03/16     DME    List parents' exhibits, organize and determine ifwe have seen the             3.30    $225
                    documents; Finish drafting Motion to Strike exhibits; Begin assessing
                    objection/motion to strike portions of parents' closing argument
03/04/16     DME    Revise and edit Motion to Strike and Exclude Exhibits from                    3.50    $225
                    Administrative Record; Filing correspondence and fax memo to BSEA;
                    E-mail to parents and client; Review parents' e-mail to counsel, hearing
                    officer, and BSEA director Erlichman; Review parents' closing to assess
                    objection to closing and motion to strike references to facts not in
                    evidence
03/07/16     DME    Review e-mail from parents; Finalize Lincoln-Sudbury's objection to           0.90    $225
                    parents' closing argument and motion to strike references to purported

              3/7/2017                              LINC04 / 00035                                        Page 18 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 59 of 96

            Case 1:16-cv-10724-FDS                Document 62-2          Filed 06/06/17           Page 20 of 29




                         facts not in evidence; E-mail communications with client and e-mail
                         motion to strike exhibits
03/09/16     DME         Review parents' opposition to motion to strike exhibits and exclude them      0.40     $225
                         from the record; E-mail to client
03/21/16     DME     Review BSEA Order allowing motion to strike exhibits and concerning               0.30     $225
                     assertions of fact which are not based in the record; e-mail client
                     concerning same
04/04/16     DME.    Review voicemail message from Dr. Ramos concerning decision.                      3.20     $225
                     - Telephone conference with Dr. Ramos; Read decision;
                     conference with Ms. Sowyrda concerning same; Review e-mail from
                     Nancy O'Neil; E-mail communications with staff concerning prevailing
                     at hearing; E-mail Dr. Ramos concerning filing complaint for attorneys'
                     fees
04/04/16     MES     Consultation with Attorney Ehrens regarding complaint for fees and                0.30    $240
                     related issues
04/05/16     DME     E-mail communications with client concerning filing complaint for                0.50     $225
                     attorneys' fees; E-mail communications with Catherine Dowling
                     concerning decision and forwarding copy
04/06/16     DME     E-mail communications with client concerning pursuing fees; Review e-            2.40     $225
                     mail from Dr. Ramos to L-S staff concerning time spent during 8SEA
                     process and preparing for hearing; Review e-mail from Superintendent
                     Wong; Initial prep for attorneys' fees case
04/07/16     DME     Work on drafting complaint                                                       1.20     $225
04/08/1 G    DME     Detailed review of prior and current billings to remove time related to          1.10     $225
                     complaints against nurses and athletic trainer, as well as time related to
                     student record, open meeting law or other issues
04/12/16     DME     Research BSEA decisions against parents for comments related to                  1.50     $225
                     motives and purpose
04/14/16     DME     Finalize complaint for attorneys' fees and exhibit A; Prepare civil action       4.20     $225
                     cover sheet, motion to file under seal, memorandum in support of
                     motion to file under seal, and correspondence to USDC concerning
                     filing; Conference with paralegal concerning hand-filing all documents;
                     e-mail client concerning same; E-mail paralegal concerning status and
                     summons; Research standard for fees and decisions and search for
                     BSEA decisions and comments by hearing officers about parents
04/14/16     PMR    Telephone call to Clerk's Office, United States District Court of                 2.30    $1 JO
                    Massachusetts regarding filing matters; hand filing of Complaint and
                    related documents with the United Slates District Court of
                    Massachusetts; emails to/from and conferences with Attorney Ehrens
                    regarding same
04/15/16     DME    Telephone conference with federrilcfourt  concerning entire record sealed         5.90    $225
                                                 5
                    • motion filed was not settl,
                                                    0
                                                      5~
                                                      usec\,seudonyms; Review e-notice; E-
                    mail communications with paralegal concerning summonses; Draft
                    mo- ent; prepare waiver of service of summons
                    for                      · Research; Review "Capistrano" case; Begin
                                    Ws
              3/7/2017                                LINC04 / 00035                                          Page 19 of28
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 60 of 96
             Case 1:16-cv-10724-FDS             Document 62-2           Filed 06/06/17          Page 21 of 29




                      drafting memorandum in support of motion for summary judgment;
                      Telephone call to Reece Erlichman, BSEA director concerning BSEA
                      decisions for school districts
 04/15/16     PMR     Scan filed Complaint and related documents into DMS; finalize,                 1.40     $)   JO
                      photocopy, scan and mail Waivers of Service to Defendants; telephone
                      calls to/from and conferences with Attorney Ehrens regarding same;
                      hand delivery to Quincy Post Office for mailing
 04/18/16     DME     Review voicemail from Reece Erlichman and calendar follow-up for               0.10    $225
                      next week
 04/19/16     DME     Research attorneys' fees awards and standards applied; Research IDEA           5.90    $225
                      and attorneys' fees awards against parents; E-mail communications with
                      Ms. Vasudevan concerning attorneys' fees award approach -
                      - First Circuit; Work on drafting legal argument for summary
                      judgment motion
· 04/20/16    DME     Continue researching attorneys' fees awards against parents and drafting       3.10    $225
                      memorandum in support of motion for summary decision
 04/21/16     DME     Conference with Ms. Vasudevan concerning cases involving attorneys' -         4.00     $225
                      fees for school districts; E-mail communications with Ms. Vasudevan
                      concerning same and case law and re. expanding to nationwide search;
                      Research "improper motive"; Continue work on memorandum of law In
                      support of motion for summary judgment on attorneys' fees; Record
                      review In search of filings most indicative of extent of parents' fllings
                      necessitating extensive responses; E-mail Ms. Vasudevan for research
                      on issue of extent of deference to hearing officer's factual findings;
                      Review case law from Ms. Vasudevan concerning weight of hearing
                      officer's facn= I fit1rlirrrs                                         .
                                                 nited States District Court of Massachusetts
 04/21/16     FSC     Researched - decisions on IDEA fee claims; Researched                         6.10     $225
                      frivolous and improper motive IDEA fee claims in First Circuit;
                      Researched First Circuit cases on how to calculate attorney's fees In
                      context of IDEA claim; Researched deference to hearing officer;
                      Researched cases where attorney's fees have been awarded to school
                      district against parent
 04/22/16     DME    Drafting affidavit in support of motion for summary judgment; Check            3.60    $225
                     for Llnkedln information about parents; Finish first draft of
                     memorandum in support of motion for summary judgment
 04/25/16     DME    Begin drafting Concise Statement of Facts                                      2.90    $225
04/26/16      DME    Work on drafting Concise Statement of Material Facts                           3.20    $225
04/27/16      DME    Review redacted hearing request and highlight additional redactions            0.30    $225
                     required
04/28/16      DME    Check on line docket in federal court for status of damages case; E-mail       2.90    $225
                     communications with insurance defonse counsel concerning status of
                     parents' case, opposition to motion to dismiss; Review opposition in
                     connection with proof of improper purpose; Calendar argument on
                     motion to dismiss
05/11/16      DME    Review e-mail from insurance defense counsel concerning hearing on             0.60    $225

               3/7/2017                             LINC04 / 00035                                          Page 20 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 61 of 96

            Case 1:16-cv-10724-FDS             Document 62-2            Filed 06/06/17         Page 22 of 29




                     dispositive motion postponed and e-mail counsel copies of the hearing
                     transcript (six volumes); Follow-up with P. Rivera concerning lack of
                     returned waivers of service and in hand service
05/13/16     PMR     Receipt and review of Defendants' Waiver of the Service of Summons;            0.20    $110
                     conference with Attonrei Ehrens regarding filing matters
                                              rs.W
05/13/16     DME     Review e-mail from                                                             0.20    $225

                     communications with client;
                                         [this involved a different case)
05/15/16     DME     E-mail communications with client                                             0.10     $225
05/16/16     PMR     Draft, photocopy, scan and mail correspondence to United States               0.80     $110
                     District Court of Massachusetts enclosing Defendants' Waiver of the
                     Service of Summons; mail courtesy copies Dr. Aida Ramos and Mr. and
                     Mrs. W.; emails, telephone calls to/from and conference with Attorney
                     Ehrens regarding same
05/16/16     DME                                                                                   0.70     $225
                                                                                                   -0.3

06/16/16     DME     Review answer to complaint and exhibit and forward to client                  0.50     $225
06/30/16     DME     Review Amended Answer and Counterclaim appealing from BSEA                    2.80     $225
                     decision; Research counterclaim issues concerning including Wallis and
                     naming the BSEA; E-mail client concerning same
07/05/16     DME     E-mail communications with client concerning argument In state court          0.20     $225
                     case and letter about serving debtor, exhibit A to cover sheet with
                     addresses
07/06/16     DME     E-mail communications with Dr. Ramos concerning amended answer                0.20
                                                                                                      /
                                                                                                            $225
                     and counterclaim
07/07/16     DME     Finish drafting answer to counterclaim (4.7)                                  4.70     $225
07/11/16     DME     Checking BSEA orders; Proof/revise answer to counterclaim                     4.20    $225
07/12/16     DME    Finish editing Answer to Counterclaim and effectuate e-flling; E-mail to       3.50    $225
                    client
08/01/16     DME    Review message from R. Erlichman and telephone conference with her             0.20    $225
                    concerning case
08/05/16     DME    Telephone conference with Ms. Sowyrda concerning status and further            ~       ~
                    proceedings                                                                    -0.2 Dup.
08/05/16     MES    Consultation with Attorney Ehrens regarding possible filing of motion          0.30    $240
                    for summary judgment
08/09/16     DME    Review e-notice from court concerning return of service on BSEA                0.10    $225
08/16/16     DME    To and from Middlesex Superior Court in Woburn for oral argument on            4.60    $225
                    Lincoln-Sudbury's motion to dismiss; Conference with Attorney
                    Christine Dowling; E-mail client concerning hearing


              J/7/2017                             LINC04 / 00035                                          Page 21 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 62 of 96
            Case 1:16-cv-10724-FDS Document 62-2 Filed 06/06/17 Page 23 of 29




08/23/16     DME     Review e-mail from Assistant AG Amy Spector concerning BSEA's               0.30    $225
                     answer; Review e-notice of scheduling conference and calendar
08/24/16     DME     E-mail communications with Assistant AG; Review e-notice from court         1.10    $225
                     with notice of scheduling conference and form of order; Review
                     Assistant AG's notice of appearance; Review BSEA's motion for
                     extension of time to file answer; Review order granting motion for
                     extension of time to answer until October 3; E-mail Assistant AG
                     complaint for fees, cover sheet, corrected BSEA decision, amended
                     complaint (Superior Court action)
09/14/16     DME     Review Scheduling Order; Telephone conferences with Dr. Ramos               1.10    $225
                     concerning settlement demand; Prepare and finalize settlement demand
                     letter; E-mail demand letter to opposing counsel with request to consult
                     for purposes of scheduling order
09/14/16     MES     86nswl •with law Felateel le atlemeys' fees elalms                         ~        $240
                                                     Ws
09/15/16     DME     E-mail communications with    swey
                     develop scheduling order and re.
                                                                     concerning conference to
                                                               seftlement proposal; E-mail
                                                                                                3.60     $225

                     communications with client; Draft/revise joint statement; Conferences
                     with accounting and obtain bills for redaction; Begin redacting bills;
                     Prepare Local Rule 16.1 certification and e-mail to client; Telephone
                     conference with client concerning alternative dispute mechanisms and
                     budget for litigation
09/16/16     DME     Telephone conference with Dr. Ramos concerning Local Rule 16.1             I.IO     $225
                     Certification; Review e-mail from Attorney Morrissey; Finalize draft
                     Joint Statement and e-mail to Attorney Morrissey and Assistant AO
                     Amy Spector
09/19/16     MES    Review of letter from the parents' attorney; consultation with Attorney     0.30     $240
                    Ehrens regarding parents' proposal for settlement
                                         Ws
09/19/16     DME    Review e-mail and - settlement demand from Attorney Morrissey;              3.80     $225
                    E-mail communications with client and Amy Spector, Assistant AG,
                    lengthy telephone conference with Attorney Morrissey concerning joint
                    statement; Telephone conferences with Dr. Ramos concerning statement
                    and settlement demand; E-mail communications with Assistant AG
                    Spector; Revise joint statement
09/20/16     MES    Consultation with Attorney Ehrens regarding parents' attorney's attempt     0.30    $240
                    to obtain trial de novo
09/20/16     DME    Review e-mail from Attorney Morrissey with his additions to the joint       1.20    $225
                    statement; Revise joint statement accordingly; E-mail communications
                    with Assistant AG Amy Spector and further e-mail communications
                    with Attorney Morrissey to finalize joint statement; E-mail
                    communications with client concerning Rule 16. l certification and
09/21/16     MES    Review of parents' settlement offer with Attorney Ehrens                    0.20    $240
09/21/16     DME    Brief conference with Dr. Ramos and Bella Wong concerning parents'          1.10    $225
                    settlement offer; - conference with Ms. Sowyrda concerning                  -0.2
                    issue related to information about litigation; Receive and review signed
                    certification from Dr. Ramos, edit certificate of service; E-file Joint
                    Statement and Local Rule 16.1 Certification; Review e-notices
              3/7/2017                             LINC04 / 00035                                       Pnge22 of28
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 63 of 96

             Case 1:16-cv-10724-FDS Document 62-2                      Filed 06/06/17 Page 24 of 29




                     confirming filing; Review e-notice from court re. Attorney Morrissey's
                     filing; Review e-notice from court re. Assistant Attorney General's filing
09/22/16      DME    E-mail communications with Amy Spector about complaint and BSEA's             0.80    $225
                     answer and pointing out use of BSEA's typo as docket number in
                     paragraph I of the complaint; E-mail communications with Amy Spector
                     and John Morrissey concerning same and request for assent to motion to
                     amend the complaint
09/23/16      DME    Review e-mail assenting to motion to amend complaint to correct the           1.10    $225
                     BSEA # in paragraph 1; Lengthy telephone conference with Amy
                     Spector (0.5); Draft assented to motion to amend and e-mail to Assistant
                     AG Spector and Attomey Morrissey; Review e-mail responses; E-file
                     motion and review e-notice from court; Instructions to support staff
                     concerning filing
09/28/16      DME                                                                                 ~        $225

09/29/16      DME    E-mail client the schedule set by the Court at the scheduling conference;    0.30     $225
                     Follow-up e-mail to assistant concerning calendaring schedule
10/07/16      DME    Preparation for Scheduling Conference and re. motion to amend; To and        3.80 $225
                     from U.S. District Court for and attend scheduling conference;               -1.0Travel @$175perhour
                     Conference with Assistant Attorney General concerning case; Review e•
                     notice from court allowing motion to amend complaint to correct
                     ministerial error and setting schedule; Review e-notice from court
                     scheduling January 13 status conference
10/11/16      DME    E-mail support concerning calendaring dates from court e-notices             0.10     $225
10/14/16      DME    Review e-mail from Attorney Christine Dowling concerning dismissal of        0.60     $225
                     superior court action and respond; Review court order dismissing
                     complaint; E-mail Dr. Ramos concerning same; Review email and
                     voicemnll from Dr. Ramos in response to e-mail concerning dismissal of
                     superior court action seeking damages
10/25/16      DME    E-mail communications with Assistant Attorney General Amy Spector            0.30     $225
                     concerning her questions about the record and personally-ldentlflable
                     information; Review e-mail communications from parents' attorney
                     concerning same
10/26/16      DME   E-mail communications with Assistant Attorney General concerning the          1.10    $225
                    record and identifying student and parents and the motion to seal and
                    modifying same; Review BSEA's motion to seal record
I 0/28/16     DME   Review e-notice from Court granting motion to seal record                     0.10    $225
11/10/16      DME   E-mail communications with Asst. AG and parents' attorney concerning          0.10    $225
                    the administrative record
11/11/16      DME   E-mail communications with parents' attorney; Forward electronic              0.40    $225
                    versions of the transcripts                                 Ws
11/17/16      DME   Review e-mail from Attorney Christine Dowling concerning     1111             0.50    $225
                    motion for reconsideration of dismissal of state Superior Court action;
                    Review motion for reconsideration and insurance defense attorneys'

               3n/2017                             LINC04 / 00035                                         Page 23 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 64 of 96
            Case 1:16-cv-10724-FDS             Document 62-2           Filed 06/06/17           Page 25 of 29




                     opposition    Ws
11/28/16     DME     Review the   11111 motion for reconsideration and insurance defense            0.60    $225
                     counsel's opposition; E-mail Attorney Christine Dowling concerning
                     same
12/01/16     DME     Review e-mail from Attorney Morrissey and attached motion for                  0.90    $225
                     extension of time to file motion to supplement the record; E-mail
                     communications with Attorney Morrissey and Assistant Attorney
                     General Amy Spector concerning BSEA's assent to the motion and the
                     record; E-mail communications with Attorney Morrissey concerning
                     needed change to motion for District to assent
12/02/16     DME     Review revised motion for extension of time to file motion to                  0.40    $225
                     supplement the record with required changes; Review e-notice from
                     court concerning the motion; E-mail communications with Attorney
                     Morrissey and Assistant Attorney General Spector concerning
                     scheduling and motions to be filed
12/05/16     DME     Review e-notice from court documenting electronic order granting               0.10   $225
                     motion for extension of time to file motion to supplement the record
12/07/16     DME    Review e-notice from court rescheduling status conference and calendar          0.10   $225
                    same
12/13/16     DME    E-mail communications with Attorney Christine Dowling concerning the            0.30   $225
                    Middlesex Superior Court action and the court's denying parents' motion
                    for reconsideration of the order dismissing the case; e-mail client
                    concerning same                                        Ws
12/14/16     DME    E-mail communications with Dr. Ramos concerning      11111  superior            0.10   $225
                    court case dismissal, reconsideration denied, and possible appeal
12/26/16     DME    Review e-mail from Attorney Morrissey re. conferring re. motion to              0.10   $225
                    supplement the record
12/27/16     DME    Review documents e-mailed by Attorney Morrissey concerning                      1.00   $225
                    supplementing the record, including two affidavits; E-mail Attorney
                    Morrissey
01/01/17     DME    E-mail communications (12/30) with assistant concerning downloading,            3.50   $225
                    printing, and saving parents' motion to supplement/correct record, table,
                    memo in support, and exhibits; Review e-notice from court and motion
                    and memorandum in support of motion to supplement/correct the record,
                    exhibits, and table of corrections, allegedly missing documents
01/03/17     DME    Review parents' exhibits and e-mail Assistant Attorney General                  5.00   $225
                    concerning same; E-mail communications with Attorney Morrissey;
                    iiiiliiints exhibit and record review, including affidavits of
             Mrs. W               - doctor, and Lawrence Academy math
                    teacher        Wallis
01/04/17     DME    E-mail communications with Assistant Attorney General concerning               2.70    $225
                    BSEA's position and documents submitted to supplement the record;
                    Compare documents with exhibits parents submitted with closing
                    argument


              3/7/2017                             LINC04 / 00035                                          Page24of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 65 of 96
            Case 1:16-cv-10724-FDS             Document 62-2          Filed 06/06/17          Page 26 of 29




01/05/17     DME     Work on opposition to motion to supplement the record - research and         2.40     $225
                     record/document review
01/06/17     DME     Record review for omissions (witness lists and table of contents from        6.60     $225
                     District's exhibit book); E-mail communications with Assistant Attorney
                     General Spector concerning issues with record, including missing
                     witness lists and documentation of District's exhibit book; Work on
                     drafting legal arguments/opposition to motion to supplement the record,
                     including additional research
01/10/17     DME     Review message from Assistant Attorney General Amy Spector; Call in          2.40    $225
                     to Amy Spector; Telephone conference with Amy Spector; Work on
                     opposition to motion to supplement the record
01/11/17     DME     Work on drafting opposition to motion to supplement arguments                2.30    $225
01/12/17     DME     Check file and online calendar for status; Telephone call to judge's         0.30    $225
                     docket clerk concerning status conference and rescheduled date for same
01/16/17     DME     Research and additional drafting of arguments for opposition to motion       1.10    $225
                     to supplement the record
01/17/17     DME     Additional research re. supplementation; Further review of parents           1.90    $225
                     "supplemental" documents
01/18/17     DME     Work with administrative record in connection with opposing motion to        2.10    $225
                     supplement
01/19/17     DME    Telephone conference and e-mail communications with Assistant                 3.10    $225
                    Attorney General Amy Spector - concerning the April 6, 20 I 5,
                    motion to postpone filed/received 4/7/15 and her questions; Locate
                    documents and e-mail to her; Drafting new arguments in opposition to
                    motion to supplement; Record citations
01/20/17     DME    E-mail communications with Attorney Morris ..iwltlng assent to                1.90    $225
                    extension of time to January 27 to oppose the       m6tlon to     ·
                    supplement; Telephone conference with Assistant Attorney General
                    Amy Spector; Draft assented to motion for extension of time and e-mail
                    to Attorney Morrissey and Assistant AU Spector; E-file motion for
                    extension of time; Work on opposition to motion to s1tement; E-mail
                    communications with Dr. Ramos and forward     11111     tion to
                    supplement and supporting documents
01/23/17     DME    Telephone conference and e-mail communications with Assistant                 1.70   $225
                    Attorney General Amy Spector concerning the record; Review e-notice
                    from court allowing motion for extension of time to oppose motion to
                    supplement the record; Work on opposition to motion to supplement
01/25/17     DME    Continue writing, revising opposition to motion to supplement the            4.30    $225
                    record; E-mail communications with Assistant Attorney General;
                    Review BSEA's draft opposition; E-mail Assistant Attorney General
                    about matters addressed in BSEA memo and corrections; Telephone
                    conference with Assistant Attorney General
01/26/17     DME    Work on revising and supplementing opposition to motion to                   3.40    $225
                    supplement the record


              3/7/2017                            LINC04 /00035                                          Page 25 of28
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 66 of 96
             Case 1:16-cv-10724-FDS               Document 62-2        Filed 06/06/17           Page 27 of 29




01/27/17      DME     Finish revising and editing opposition to motion to supplement the            6.70     $225
                      record; e-file; E-mail communications with court clerk concerning same;
                      Review Assistant Attorney General Amy Spector's e-filing notices and e-
                      mail communications with her concerning same
01/30/17      DME     Review e-mail concerning BSEA's filing of supplemental record;                0.30    $225
                      Review e-mail from Assistant Attorney General Amy Spector
                      concerning revised Table of Contents and forward to assistant for
                      printing; Review e-mail from courtroom clerk
01/31/17      DME     Review e-notlces from court and e-mail from assistant concerning              0.20    $225
                      rescheduling the February 6 status conference; Calendar same
02/02/17      DME     E-mail Dr. Ramos concerning court scheduling/status conference                0.10    $225
02/03/17      DME     E-mail communications with client concerning parents' request for             0.10    $225
                      supplementation
02/06/17      DME     E-mail client new supplementation documents (affidavits, etc.)                0.10    $225
02/12/17      DME     Review e-notice from court cancelling the status conference scheduled         0.10    $225
                      for 2/13/ 17 due to court closed because of snow
02/22/17      DME    Review e-mail from clerk concerning rescheduling hearing on motion to          0.30    $225
                     supplement the record; Review e-mail communications from Assistant
                     Attorney General Amy Spector and Attorney Morrissey concerning
                     rescheduling; Review voicemail from Amy Spector concerning same;
                     Check calendar and e-mail Attorneys Spector and Morrissey concerning
                     same
02/23/17      DME    Review e-mail from Attorney Spector to court concerning counsel's              0.20    $225
                     availability and review e-notice from court scheduling hearing on
                     motion to supplement the record
02/25/17      DME    Review e-mail from clerk concerning rescheduling hearing on motion to          0.30    $225
                     supplement the record; Review e-mail communications from Assistant
                     Attorney General Amy Spector and Attorney Morrissey concerning
                     rescheduling; Review voicemail from Amy Spector concerning same;
                     Check calendar and e-mail Attorneys Spector and Morrissey concerning
                     same

                     Total fees for this matter               738.40 hrs     $165,667.00

Disbursements
02/28114             Ei<J'lress Mail Pestage (mere1:1r 379491)                         ~
03/0S/l 4            Gei,ies ht~fftftl                                                  $4,-W

09/30/14             Travel (drme)                                                     $28.79
10/06/14             Copies - Internal                                                  $2.40

10/31/14             Copies - Internal                                                  $3.40
11/21/14             Online Research                                                   $17.96
I 1/26/14            Online Research                                                   $71.84

               3/7/2017                             LINC04 / 00035                                         P11ge 26 of28
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 67 of 96

            Case 1:16-cv-10724-FDS            Document 62-2          Filed 06/06/17     Page 28 of 29




12/02/14             Online Research                                           $90.61

12/03/14             Online Research                                           $15.10

12/04/14             Online Research                                           $90.61

12/05/14             Copies - Internal                                         $23.40

12/18/14             Copies - Internal                                          $3.00

12/19/14             Copies - Internal                                         $30.00

12/23/14             Online Research                                           $15.10

12/30/14             Online Research                                           $30.20

12/31/14             Copies - Internal                                         $17.80

01/09/15             Copies - Internal                                          $5.40

02/11/15             Copies - Internal                                          $0.60

02/12/15             Copies - Internal                                         $18.00

02/13/15             Copies - Internal                                          $5.00

02/16/15             Copies - Internal                                         $82.20

02/17/15             Copies - Internal                                         $50.40

02/19/15             Copies - Internal                                          $1.60

02/20/15             Copies • Internal                                          $4.80

03/25/15             Online Research                                           $34.34

04/06/15             Travel (dme)                                              $30.41

04/06/15             Travel (dme)                                              $43.44

04/14/15             Express Mail - Postage (ups)                              $26.35

04/14/15             Express Mail· Postage (ups)                               $22.73

04/20/15             Copies - Internal                                          $1.20

11/10/15             Copies - Internal                                          $0.20

11/17/15             Travel (drme)                                            $692.39

01/05/16             Travel (drme)                                            $364.61

02/04/16             Online Research                                           $72.41

02/05/16             Online Research                                           $72.41

02/08/16             Online Research                                           $24.14

02/29/16             Copies - Internal                                          $7.00

03/04/16             Copies - Internal                                          $1.20

04/07/16             Online Research                                           $39.80

04/12/16             Online Research                                          $119.39
               3/7/2017                             LINC04 / 00035                               Page 27 of28
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 68 of 96
             Case 1:16-cv-10724-FDS Document 62-2 Filed 06/06/17 Page 29 of 29




04/13/16              Online Research                                         $79.59
04/14/16              Copies - Internal                                       $17.60
04/14/16              Filing and Court Costs (usdcm)                        $400.00
04/14/16              Online Research                                       $119.39
04/15/16              Online Research                                        $79.59
04/19/16              Online Research                                        $19.90
04/21/16              Online Research                                        $59.70
04/21/16              Online Research                                        $99.49
04/26/16              Travel (pmr)                                           $12.00
04/26/16              Travel (pmr)                                            $1.81
05/13/16              Online Research                                        $22.13
05/16/16              Online Research                                        $22.13
06/30/16              Online Research                                        $70>.41
08/16/16              Travel (drme)                                          $19.07
09128/16              '.fra•.-el (DME)                                       ~
I 0/07/16             Travel (DME)                                           $45.41
11/28/16              Online Research                                        $16.80
01/09/17              Online Research                                        $51.05
01/25/17              Online Research                                        $25.53

                     Total expenses for this matter                      $3,386.60



MATTER SUMMARY:
TOTAL FEES FOR             nus MATTER                  738.40 hrs   $165,667.00
TOTAL EXPENSES FOR THIS MATTER                                        $3,386.60

TOTAL BILLED FOR THIS MATTER                                        · $169,053.60




                3/7/2017                           LINC04 / 00035                      Page 28 of28
Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 69 of 96

  Case 1:16-cv-10724-FDS Document 62-3 Filed 06/06/17 Page 1 of 19




     EXHIBIT C
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 70 of 96

               Case 1:16-cv-10724-FDS Document 62-3 Filed 06/06/17                    Page 2 of 19




                       MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                 Attorneys at Law

TEL: (C,17) 479-5000                     300 CROWN COLONY DRIVE, SUJTE 4 IO                      FAX: (617) 479-6469
                                                    P.O. BOX 9126
                                                QUINCY, ivli\ 02269-9126




                                                Billing Summary


Aida Ramos                                                                                  Bill date 02/06/ I 5
Director of Student Services                                                            Bill number 59620
Lincoln Sudbury Regional School District                                            Billingthrough 12/31/14
390 Lincoln Road
Sudbury, MA 01776



  00001       General Ongoing
              Total fees for this matter                                  $517.50
              Total disbursements for this matter                           $0.00

  00035                         WALLIS

              Total fees for this matter                               $16,852.50
              Total disbursements for this matter                         $315.82


  00037 -
              Total fees for this matter                                  $922.50
              Total disbursements for this matter                           $0.00


   INVOICE SUMMARY:
   TOT AL FEES FOR THIS BILL                             81.30 hrs        $.18,292.50
   TOTAL EXPENSES FOR THIS BILL                                               $315.82
   PROFESSIONAL COURTESY DISCOUNT                    *                     $1,125.00 CR

  TOTAL DUE THIS BILL                                                     $17,483.32




   LINC04 59620
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 71 of 96

              Case 1:16-cv-10724-FDS Document 62-3 Filed 06/06/17 Page 3 of 19




                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                   300 CROWN COLONY DRIVE, SUITE 410                          Ft\X: (617) 479-6469
                                                  P.O. BOX 9126
                                             Ql INCY, Mt\ 02269-9126




Aida Ramos                                                                                   Bi II date 02/06/ I 5
Director of Student Services                                                             Bill number 59620
Lincoln Sudbury Regional School District                                             Billing through 12/31/14
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing
For professional services rendered:




                        Total fees for this matter                                  2.30 hrs            $517.50


 00035                            WALLIS

For professional services rendered:

 Draft Release to authorize Children's Hospital to release records and communicate; Research imPACT
 testing; E-mail communications with client: Research for memorandum in support of motion to dismiss;
 Discovery; Work on motion to dismiss; Additional research; E-mail parents' response to first production
 request, item 2; Work on motion to dismiss; Additional research; E-mail client; Continue work on motion
 to dismiss; Additional research; E-mail client; Final proofof memorandum in support of motion to
 dismiss/for summary decision and make edits; Revise motion and edit; Prepare Response to Parents'
 Motion to Dismiss; Correspondence and fax memo to BSEA; Review correspondence and begin review of
 recording of May 12, 2013 meeting; Notes concerning location on recording of specific information;
 Continue listening to and taking notes from flash drive with recordings of meetings from parents;
 Incorporate teacher's responses to interrogatories into answers; Finish drafting answers to
 interrogatories/revise, edit; Research BSEA 504 cases; Review parents' response to Lincoln-Sudbury's
 response to parents' motion to dismiss; Final edits to answers to interrogatories and e-mail to client; Begin
 drafting answers/objections to second set of interrogatories; Review correspondence to hearing officer
 from parents responding to Lincoln-Sudbury's response to parents' motion to dismiss and
 Lincoln-Sudbury's motion to dismiss/for summary decision; Review Dr. Ramos' comments/questions,
 make changes to answers and respond to comments; E-mail to Dr. Ramos; Finalize answers to second set


   LJNC04 59620                                                                                Page     1
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 72 of 96

             Case 1:16-cv-10724-FDS          Document 62-3      Filed 06/06/17     Page 4 of 19




 of interrogatories; Go through documents and finalize first 19 responses to requests in first document
  request; E-mail communications with client concerning school physician on call and response to second
 request for production; Review client's comments to draft answers and edit accordingly; Telephone call in
 to Dr. Ramos; Telephone conference with Anne O'Reilly to follow up on signature page for answers to
  interrogatories; Locate June, 2013 doctor's note; E-mail answers to client for signature; Finalize
 supplemental memorandum in support of motion to dismiss; Review and analyze parents' "motion to
 oppose" motion to dismiss; Revise and edit supplemental memorandum; Correspondence to hearing
 officer and effectuate filing; Continue finalizing answers to interrogatories and document request
 responses; E-mail parent with suiwlemental,n1emorandum; E-mail communications with client/reviewing
 communications with - colc"frfWt~g"their "open meeting law" complaint; Check AG open meeting
 law complaint provisions and respond to client; Finalize answers to first and second set of parents'
 interrogatories and response to second request for production; Correspondence to hearing officer; E-mail
 communications with client and parent; Review parents' response to supplemental memorandum, parents
 motion to compel compliance with BSEA rules, motion to compel answers to second request for
 production and to first and second sets of interrogatories; Draft and finalize reply to response to
 supplemental memorandum; Draft and finalize opposition to motion to compel; Filing correspondence to
 BSEA; Begin drafting opposition to motion to compel production of documents requested in parents'
 second request for production; E-mail communications with client; Work on oppositions to motions to
 compel and replies; Opposition to motion to compel answers to first set of interrogatories; Opposition to
 motion to compel answers to second set of interrogatories and response to second set of documents; Filing
 correspondence to BSEA; Review e-mail and multiple letters from parents; Continue work on reply to
 opposition to motion to dismiss/for summary decision; Organize discovery responses; Revise responses to
 document requests; Check and organize copies of documents for production to finalize; Correspondence
 and fax memo to file response with BSEA and serve response with documents on parents; Organize all
 recent filings and update pleadings binder

                       Total fees for this matter                               74.90 hrs      $16,852.50

Disbursements:
12/02/14           Online Research                                                $90.61
12/03/14           Online Research                                                $15.10
12/04/14           Online Research                                                $90.61
12/23/14           Online Research                                                $15.10
12/30/14           Online Research                                                $30.20
12/31/14           Copies - Internal                                              $74.20

                      Total disbursements for this matter                       $315.82



 00037
                 -
   LINC04 59620                                                                             Page   2
               Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 73 of 96

                  Case 1:16-cv-10724-FDS Document 62-3               Filed 06/06/17 Page 5 of 19
ti   •




                            Total fees for this matter                             4.10 hrs          $922.50




         INVOICE SUMMARY:
         TOT AL FEES FOR THIS BILL                           81.30 hrs      $18,292.50
         TOT AL EXPENSES FOR THIS BILL                                         $315.82
         PROFESSIONAL COURTESY DISCOUNT                  *                   $1,125.00 CR

         TOTAL DUE THIS BILL                                                $17,483.32



          Courtesy Discount 5.0 hours (ll,125.00)




         LINC04 59620                                                                         Page   3
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 74 of 96

              Case 1:16-cv-10724-FDS          Document 62-3 Filed 06/06/17 Page 6 of 19




                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                   300 CRO\X'N COLONY DRIVE, SUJTE 410                      FAX: (617) 479-6469
                                                   P.O. BOX 9126
                                             QUINCY, MA 02269-912(,




                                               Billing Summary


Aida Ramos                                                                                 Bill date 04/13/15
Director of Student Services                                                           Bill number 60215
Lincoln Sudbury Regional School District                                           Billing through 02/28/15
390 Lincoln Road
Sudbury, MA 01776



  00035                         WALLIS

              Total fees for this matter                             $20,680.50
              Total disbursements for this matter                       $162.60


  00037 -
              Total fees for this matter                                $135.00
              Total disbursements for this matter                         $0.00


  00039 -
              Total fees for this matter                                $202.50
              Total disbursements for this matter                         $0.00


  00040 -
              Total fees for this matter                                $112.50
              Total disbursements for this matter                         $0.00


   INVOICE SUMMARY:
   TOT AL FEES FOR THIS BILL                            93.90 hrs           $21,130.50
   TOTAL EXPENSES FOR THIS BILL                                                $162.60
   PROFESSIONAL COURTESY DISCOUNT                   *                        $2,025.00 CR

   TOT AL DUE THIS BILL                                                     $19,268.10


   LINC04 60215
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 75 of 96

              Case 1:16-cv-10724-FDS           Document 62-3       Filed 06/06/17    Page 7 of 19




                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                     300 CRO\X1N COLONY DRIVE, SUITE 410                    FAX: (617) 479-6469
                                                     P.O. BOX 9126
                                               Q INCY, MA 02269-9126




Aida Ramos                                                                                  Bill date 04/13/15
Director of Student Services                                                            Bill number 60215
Lincoln Sudbury Regional School District                                            Billing through 02/28/15
390 Lincoln Road
Sudbury, MA 01776



  00035                               WALLIS

For professional services rendered:

 Review e-mail and attachments from parents (filing correspondence, response to production request,
 doctor r)R9U-~} E-mail communications with Dr. Ramos, including review of SC's proposed letter to the
 -~1~W1cked Local inquiry; Investigate school physician issue and issue concerning son at
 Landmark; E-mail parents concerning discovery rul~IJi re~1ore than 25 interrogatories;
 Begin Brandon Dorey direct examination; Work on -- ci~ss;'Student record and discovery
 issues reviewed with Attorney Ehrens; Review mother's response to school committee chair's e-mail
 communications with client concerning alleged invasion of privacy issue; Review parents' letter to hearing
 officer and motion to compel compliance with BSEA's I /14 order;
 Telephone conference with Dr. Ramos (22:56); Begin work on opposition to parents' motion to compel
 compliance and production; Extensive work on supplemental discovery response; Correspondence and fax
 to BSEA; Research legal issue; Second letter to BSEA concerning accommodations for Dr. Ramos and
 requesting a conference call prior to the hearing; E-mail communications with client (& school nurses);
 Review and finalize supplemental production and effectuate filing and service; Telephone conference with
 Dr. Ramos (9:52) concerning responding to mother and her check for records; Review and respond to
 e-mail communication from school nurse concerning contacts with school physician; Hearing preparation;
 Witness list and questions; Werk on exhibits; E-mail communications with client; Review parents request
 for postponement of hearing; E-mail client concerning same; E-mail communications with client
 concerning parents' proposed hearing dates; Begin drafting response; E-mail communications with
 Attorney Lyons concerning Jennifer O'Neill; Review parents' correspondence to hearing officer
 concerning subpoenas; Correspondence to BSEA concerning same; E-mail communications with parents
 concerning same and documents sent out/investigate their unreliability claims; Opposition to request for
 postponement and filing correspondence; Review e-mail and correspondence from parents, forward to
 client, and respond with a request for a conference call; E-mail communications with client; Work on
 choosing exhibits for hearing and exhibit list; E-mail communications with Dr. Ramos and Anne O'Reilly;
 Continue work on choosing exhibits for hearing and exhibit list; Telephone conference with Pau)J:Y~fJen
 concerning scheduling conference call; Work on cross examination questions -                   /if-lnatl
 communications with client concerning various issues, documents, U.S. History scores; Supplement

   LJNC04 60215                                                                              Page    1
         Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 76 of 96

            Case 1:16-cv-10724-FDS           Document 62-3        Filed 06/06/17     Page 8 of 19




 exhibit and witness lists; Superintendent's possible testimony; Review voice message from BSEA
 concerning scheduling conference call and calendar same; E-mail communications with client; E-mail
 parents with school physician information; Review e-mail communications and organize and redact for
 production; Second supplemental response to parents' first request for production; correspondence to
 BSEA concerning same; E-mail supplemental response to parents; Work on Dr. Ramos direct exam;
 Witness preparation notes; Prepare exhibit books (Professional Courtesy Discount 7.0 hours); Finalize
 Exhibit Book; Correspondence to hearing officer; Lengthy conference call with hearing officer and parents
 (2:34: 18) e-mail communications with client concerning conference call; Review request for production to
 parents and e-mail parents with the requests to which they must respond; Prepare list of exhibits to propose
 as joint exhibits per hearing officer's instructions and e-mail parents concerning same (Professional
 Courtesy Discount 2.0 hours); Telephone conference with client concerning hearing dates;
 Correspondence to hearing officer and correspondence to parents concerning dates; E-mail
 communications with client, including forwarding letters for approval; E-mail communications with
 Brandon Dorey concerning Lawrence Academy math; Research Lawrence Academy, Frank Mastrangelo,
 athletic trainer and alleged concussion expert; Telephone conference with Mr. Mastrangelo concerning his
testifying (he did not know anything about it) and inquiring about his credentials; E-mail communications
with client concerning letters to hearing officer and parents - approved to send; Call in to Frank
 Mastrangelo, athletic trainer and alleged concussion expert and follow-up e-mail to him concerning his
credentials/qualifications; Lengthy telephone conference with Brandon Dorey and follow-up to locate and
print Lawrence Academy mathematics and history course lists for exhibit book; E-mail communications
with hearing officer and parents concerning possible hearing dates; E-mail communications with client
concerning same and witness preparation; Review e-mail to hearing officer from parents; Research
Landmark website for profile of Kimberly Hildebrandt; E-mail Kimberly Hildebrandt; Print/prepare Kim
Hildebrandt outreach page for cross; Research Landmark math classes and print/prepare exhibit for cross;
Prepare Hildebrandt cross; Supplement Dorey direct; Begin Gilman direct; E-mail client concerning
Gilman iPass progress report or grade book; Review e-mail from hearing officer and mother; E-mail
communications with client concerning hearing dates and school committee documents sent to parents, but
returned by FedEx; Review e-mail from Landmark math tutor and her CY; E-mail communications with
Brandon Dorey concerning same; Research math curriculum at Landmark for purposes of tutor's
experience; Continue drafting and supplementing witness questions based upon research and
communications; E-mail communications with client concerning hearing dates, math tutor; E-mail math
tutor with questions; E-mail Brandon Dorey; Telephone conference with Varsity Tutors and going rate in
area for tutors; Review BSEA order and forward to client; Witness questions (Kim Schultz - supplement
prior drafts re. Brandon Dorey, Joshua Gilman); Review e-mail from parent concerning Open Meeting
Law document request; E-mail communications with client concerning same; Work on examination
questions (Schultz, Belmont, Stoda); Review correspondence from parents ( dated 2/25/15) concerning
request for subpoenas, subpoenaing school committee chair and superintendent and draft response; Draft,
edit, and finalize responsive co!"\"~t'W~ftdence; E-mail communications with client; Conference with Ms.
Ciampoli concerningi~P~ ai-\a research parents; E-mail communications with Lynn Carlson
concerning-; 'Cocate 98-page decision _2ng review same; More hearing preparation; Conference
with Attorney Ehrens concerning the - ~~~~rents' credentials.; Review e-mail communications and
head injury policy forms and documents from Anne Kramer, Timothy Jason, and Joshua Gilman from
client; call in to client; E-mail client concerning submission of concussion protocol; E-mail client and
- WALLIS


                      Total fees for this matter                                 91.90 hrs       $20,680.50


  LINC04 60215                                                                               Page    2
          Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 77 of 96

             Case 1:16-cv-10724-FDS            Document 62-3   Filed 06/06/17    Page 9 of 19




Disbursements:
02/28/15             Copies - Internal                                          $162.60

                        Total disbursements for this matter                     $162.60



  00037
                 -
                        Total fees for this matter                              0.60 hrs          $135.00


 00039
                 -
                        Total fees for this matter                              0.90 hrs          $202.50


 00040
                 -
For professional services rendered:




                       Total fees for this matter                               0.50 hrs          $112.50




   LINC04 60215                                                                            Page   3
      Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 78 of 96

        Case 1:16-cv-10724-FDS Document 62-3   Filed 06/06/17 Page 10 of 19




INVOICE SUMMARY:
TOTAL FEES FOR THIS BILL               93.90 hrs      $21,130.50
TOTAL EXPENSES FOR THIS BILL                             $162.60
PROFESSIONAL COURTESY DISCOUNT     *                   $2,025.00 CR

TOTAL DUE THIS BILL                                   $19,268.10



 Discount of 9.0 hours $2,025.00




LINC04 60215                                                          Page   4
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 79 of 96

             Case 1:16-cv-10724-FDS           Document 62-3      Filed 06/06/17         Page 11 of 19




                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                 Attorneys at Law

TEL: (617) 479-5000                     300 CRO\X1N COLONY DRIVE, SUITE 4IO                        rAX: (617) 479-6469
                                                     P.O. BOX 9126
                                               QUINCY, l\11\ 02269-9126




                                               Billing Summary


Aida Ramos                                                                                     Bill date 04/28/15
Director of Student Services                                                               Bill number 60361
Lincoln Sudbury Regional School District                                               Billing through 03/31/15
390 Lincoln Road
Sudbury, MA 01776



  00001      General Ongoing
              Total fees for this matter                                      $22.50
              Total disbursements for this matter                              $0.00

  00035                        WALLIS

              Total fees for this matter                               $13,198.00
              Total disbursements for this matter                          $34.34


  00037 -
              Total fees for this matter                                      $22.50
              Total disbursements for this matter                              $0.00


   INVOICE SUMMARY:
   TOTAL FEES FOR THIS BILL                              58.80 hrs            $13,243.00
   TOTAL EXPENSES FOR THIS BILL                                                   $34.34

   TOTAL DUE THIS BILL                                                        $13,277.34




   LINC04 60361
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 80 of 96

             Case 1:16-cv-10724-FDS          Document 62-3         Filed 06/06/17 Page 12 of 19




                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                   300 CROWN COLONY DRIVE, SUITE 410                       FAX: (617) 479-6469
                                                 P.O. BOX 9126
                                             QUINCY. Mi\ 02269-9126




Aida Ramos                                                                                Bill date 04/28/15
Director of Student Services                                                          Bill number 60361
Lincoln Sudbury Regional School District                                          Billing through 03/31 /15
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing




                        Total fees for this matter                                0.10 hrs              $22.50


 00035                            WALLIS

For professional services rendered:

 Consultation with Attorney Ehrens regarding procedural issues at the BSEA (scheduling over parents'
 objection); Review documents from client responsive to hearing officer's order; E-mail English/Ll.S.
 History documents from teachers to parents with new head injury protocol documents; Correspondence
 and fax memo to hearing officer and parents concerning availability for hearing; Correspondence and fax
 memo to hearing officer for 3/4/15 concerning parents' failure to comply with order to supplement their
 response to Lincoln-Sudbury's document request and to provide their availability for hearing; Consultation
 with Attorney Ehrens regarding counsel's ability to contact the parents' witnesses and BSEA issues;
 Review parents' J 7-page letter; Telephone conference with Dr. Ramos; Correspondence to BSEA
 objecting to any further postponement; Review BSEA ruling on Lincoln-Sudbury's objections to
 subpoenaing Bella Wong and Rhada Gargeya and parents' document request #8 and forward to client with
 comments; Review e-mail from parents in response to my letter objecting to further postponement; Review
 e-mail from hearing officer referencing clarification order; Review clarification order; E-mail client;
 E-mail communications with client; Review parents' complaint about breach of confidentiality and e-mail
 to client concerning School Committee letter; Review communications related to open meeting law/public
 records requests in light of hearing officer's ¾ clarification order and correspondence to Dr. Ramos
 concerning same; E-mail communications with client; Correspondence and fax memo to BSEA concerning
 availability for April hearing dates; Serve parents; Update pleadings binder; Review e-mail from mother
 concerning her intent to respond and forward to Dr. Ramos with comments; E-mail communications with
 client concerning status; Obtained parents' filing at the BSEA; provided to Attorney Ehrens; consultation
   LINC04 60361                                                                              Page   l
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 81 of 96
             Case 1:16-cv-10724-FDS               Document 62-3          Filed 06/06/17       Page 13 of 19




  with Attorney Ehrens; Checking for order scheduling hearing; E-mail Ms. Sowyrda to contact director
  about filings from parents; Review e-mail from BSEA concerning e-mail communications with client
  concerning hearing dates and proposals; Supplement examination questions for B. Dorey; E-mail B. Dorey
  concerning same; Check for communications from BSEA; Investigate existence of order; Telephone
  conference with Reece Erlichman concerning status, order, and parents' filing; Prepare response and
  further objection to continued postponement; E-mail Dr. Ramos; Have filing scanned and e-mail to client;
  Prepare response to parents' March 11 filing; Effectuate filing and service; Review of recent BSEA rulings
  with Attorney Ehrens; Review BSEA order scheduling hearing, discovery, and reference to clarification
  order; Telephone conference and e-mail communications with Dr. Ramos concerning hearing not
  postponed and scheduling witness prep; Work on witness questions - Supplement C. Belmont and M.
  Stoda questions, Shultz direct, Gilman direct; E-mail communications with client concerning status;
  Document review and organization; Telephone conference with Dr. Ramos concerning correspondence
  from public records division; Revrlfrw ~orrespondence from public records division and earlier
 communications with- c61icerning public records requests; Draft response; E-mail Dr. Ramos;
 E-tt1tttl-el-i-eHt aHd rnatl-eer-res-p<:ttltiet1ee-t-o-SttpervtS6t'-Of-R-eeords; Follow-up on any filing from parents and
 email client with status; Review documents for additional exhibits/chalks; Review messages from Paul
 O'Brien at BSEA; Telephone conference with Paul O'Brien concerning availability for conference call
 today; E-mail client; Telephone conference with Reece Erlichman inquiring about whether parents filed
 anything new; Review parents' most recent filings and review lengthy filings (for postponement and
 recusal) faxed and e-mailed from BSEA; Call in to client; BSEA recusal standard reviewed with Attorney
 Ehrens; Further review of parents' motion for recusal and postponement request and e-mail to client with
 comments; Prepare opposition to most recent postponement request, correspondence to BSEA and fax and
 serve by e-mail; Research legal standard for recusal; Prepare opposition to motion for recusal;
 Correspondence to BSEA and fax and serve by e-mail; Review subpoenas issued by the BSEA for Nancy
 O'Neil, Rhonda Taft-Farrell, and Scott Carpenter; Call from Dr. Ramos and return call; E-mail Dr. Ramos
 concerning contacting Brandon Dorey for hearing prep; Telephone conference with Dr. Ramos in
 follow-up on request for postponement and motion for recusal; Supplement witness list; Additional
 hearing prep and work on exhibit list and documents; E-mail communications with Attorney C. Lyons
 concerning witness Nancy O'Neil; E-mail client concerning updated status and any rulings on parents'
 motions and concerning contact with Scott Carpenter; E-mail Brandon Dorey concerning discussing
 examination questions; Lengthy telephone conference with Brandon Dorey concerning examination
 questions (2.0); Conference with IT concerning printing new exhibit from webpage; E-mail
 communications with client concerning additional cvs for exhibit book; Witness questions; Review
 correspondence from BSEA and 3-25-2015 Order concerning request for postponement and other related
 matters; E-mail client concerning same; Telephone conference with client; Check, supplement, and
 finalize all exhibit books and witness list and effectuate filing and service; Hearing prep; Review parents'
 correspondence in response to hearing officer's 3-20-2015 order; Consultation with Attorney Ehrens
 regarding litigation matters and parents' ongoing complaints; Effectuate delivery of exhibit book and
 witness list to BSEA and parents; Forward correspondence from parents to client; Telephone conference
 with client concerning status and issue concerning Scott Carpenter; Review e-mail from Nancy O'Neil and
 respond; Further e-mail communication with N. O'Neil; E-mail communications with client; Review
 parents' witness list, forward to client with comments, investigate unknown witnesses; Conference with
 Ms. Sowyrda concerning status; Review message from Attorney

                          Total fees for this matter                                       58.60 hrs        $13,198.00
                                                                                            -0.5
Disbursements:

   LINC04 60361                                                                                         Page     2
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 82 of 96

            Case 1:16-cv-10724-FDS         Document 62-3     Filed 06/06/17   Page 14 of 19




03/25/15          Online Research                                             $34.34

                     Total disbursements for this matter                      $34.34



 00037
              -
                     Total fees for this matter                               0.10 hrs            $22.50




  INVOJCE SUMMARY:
  TOT AL FEES FOR THIS BILL                          58.80 hrs        $13,243.00
  TOT AL EXPENSES FOR THIS BILL                                           $34.34

  TOTAL DUE THIS BILL                                                 $13,277.34



   Courtesy Discount on Matter 35 (Alexander S.) is 6.1 hours= $1,374.50




  LINC04 60361                                                                           Page 3
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 83 of 96
              Case 1:16-cv-10724-FDS           Document 62-3        Filed 06/06/17     Page 15 of 19




                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                               · Attorneys at Law

TEL: (617) 479-5000                   300 CROWN COLONY DRIVE, SUITE 410                          FAX: (617) 479-6469
                                                 P.O. BOX 9126
                                             QUINCY, MA 02269-9126




                                               Billing Summary                                    ,/



Aida Ramos                                                                                   Bill date 03/09/17
Director of Student Services                                                             Bill number 66501
Lincoln Sudbury Regional School District                                             Billing through 01/31/17
390 Lincoln Road
Sudbury, MA 01776



  00001      General Ongoing
              Total fees for this matter                                   $697.50
              Total disbursements for this matter                            $0.00

  00035                         WALLIS

              Total fees for this matter                                $11,452.50
              Total disbursements for this matter                           $76.58

  00048
              Total fees for this matter                                 $2,268.00
              Total disbursements for this matter                            $0.00

  00049 -
              Total fees for this matter        I
                                                                          $877.50
              Total disbursements for this matter                          $99.20


   INVOICE SUMMARY:
   TOTAL FEES FOR THIS BILL                             67.80 hrs          $15,295.50
   TOTAL EXPENSES FOR THIS BILL                                               $175.78
   PROFESSIONAL COURTESY DISCOUNT                   *                       $1,575.00 CR

   TOTAL DUE THIS BILL                                                     $13,896.28


   LINC04 66501
            Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 84 of 96

               Case 1:16-cv-10724-FDS          Document 62-3       Filed 06/06/17     Page 16 of 19




                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                     300 CROWN COLONY DRIVE, SUITE 410                       PAX: (617) 479-6469
                                                   P.O. BOX 9126
                                               QUINCY, MA 02269-9126




Aida Ramos                                                                                  Bill date 03/09/17
Director of Student Services                                                            Bill number 66501
Lincoln Sudbury Regional School District                                            Billing through 01/31/17
3 90 Lincoln Road
Sudbury, MA 01776



  00001           General Ongoing
For professional services rendered:




                        Total fees for this matter                                  3.10 hrs          $697.50


 00035                                WALLIS

For professional services rendered:

 E-mail communications (12/30) with assistant concerning downloading, printing, and saving parents'
 motion to supplement/correct record and supporting documents and review e-notice from court, motion to
 supplement the record, memorandum and supporting documents supplement/correct the record, (exhibits,
 table of corrections, allegedly missing documents); E-mail Assistant Attorney General concerning parents'
 exhibits; E-mail communications with Attor11~ txnsive review of parents' exhibits and
 record, including affidavits of              ........ doctor, and Lawrence Academy math
 teacher; E-mail and telephone communications with Assistant Attorney General concerning BSEA's
 position and docuinents and compare documents with those submitted with parents' closing argument;
 Began work on opposition to motion to supplement the record - research and record/document review;
 Record review for omissions (witness lists and table of contents from District's exhibit book); Extensive
 e-mail communications with Assistant Attorney General Spector concerning issues with record, including
 missing witness lists and documentation of District's exhibit book; Continue drafting legal
 * Mrs. W; **WALLIS

   LINC04 66501                                                                                Page   1
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 85 of 96
              Case 1:16-cv-10724-FDS           Document 62-3     Filed 06/06/17     Page 17 of 19




  arguments/opposition to motion to supplement the record, including additional research (1/9); Review
 message from Assistant Attorney General Amy Spector; Call in to Amy Spector; Telephone conference
 with Amy Spector; Continue work on opposition to motion to supplement the record; Finish drafting
 opposition to motion to supplement arguments; Check file and online calendar for status; Telephone call to
 judge's docket clerk concerning status conference and rescheduled date for same; Research additional
 argument for opposition to motion to supplement the record; Additional research re. supplementation and
 add to opposition; Searching administrative record in connection with opposition to motion to supplement;
 Telephone conference and e-mail communications with Assistant Attorney General Amy Spector Work
 concerning parents' April 6, 2015, motion to postpone hearing filed/received 4/7/15 and her questions;
 Locate documents and e-mail to Assistant Attorney General Spector; Locate record citations; E-mail
 communications with Attorney Morrissey requesting assent to extension of time to January 27 to oppose
 the Stahrs' motion to supplement; Telephone conference with Assistant Attorney General Amy Spector;
 Draft assented to motion for extension of time and e-mail to Attorney Morrissey and Assistant AG
 Spector; ~-~le motJon for extension of time; E-  it o Rfr.!tiRa1~s~1W.t~on to supplement; E-mail
 communications with Dr. Ramos and forward              mofton to supplement and supporting documents;
 Telephone conference and e-mail communications with Assistant Attorney General Amy Spector
 concerning the record; Review e-notice from court allowing motion for extension of time to oppose
 motion to supplement the record; Continue editing opposition to motion to supplement; Additional online
 research/citations; E-mail communications with Assistant Attorney General; Review BSEA's draft
 opposition; E-mail Assistant Attorney General about matters addressed in memo and corrections;
 Telephone conference with Assistant Attorney General; Revisions to opposition to motion to supplement
 the record; Finalize opposition to motion to supplement the record; e-file; E-mail communications with
 court clerk concerning same; Review Assistant Attorney General Amy Spector's e-flling notices and
 e-mail communications with her concerning same; Review e-mail concerning BSEA's filing of
 supplemental record; Review e-mail from Assistant Attorney General Amy Spector concerning revised
 Table of Contents and forward to assistant for printing; Review e-mail from courtroom clerk; Review
 e-notices from court and e-mail from assistant concerning rescheduling the February 6 status conference;
 Calendar same

                        Total fees for this matter                              50.90 hrs      $11,452.50

Disbursements:
01/09/17            Online Research                                               $51.05
01/25/17            Online Research                                               $25.53

                       Total disbursements for this matter                        $76.58



 00048
For professional services rendered:




   LINC04 66501                                                                             Page 2
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 86 of 96
             Case 1:16-cv-10724-FDS            Document 62-3   Filed 06/06/17     Page 18 of 19




                        Total fees for this matter                              9.90   hrs          $2,268.00



  00049
                 -
For professional services rendered:




                       Total fees for this matter                               3.90 hrs             $877.50

Disbursements:
01/31/17           . Copies - Internal                                          $99.20

                       Total disbursements for this matter                      $99.20




   LINC04 66501                                                                              Page    3
       Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 87 of 96

          Case 1:16-cv-10724-FDS Document 62-3 Filed 06/06/17 Page 19 of 19




INVOICE SUMMARY:
TOT AL FEES FOR THIS BILL                           67.80 hrs   $15,295.50
TOT AL EXPENSES FOR THIS BILL                                      $175.78
PROFESSIONAL COURTESY DISCOUNT                  *                $1,575.00 CR

TOTAL DUE THIS BILL                                             $13,896.28



 Bill reduced 7 hours professional courtesy in matter no. 35




LIN C04 66501                                                                   Page   4
       Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 88 of 96
                Case 1:16-cv-10724-FDS         Document 63    Filed 06/06/17     Page 1 of 3



                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

                                                  )
LINCOLN-SUDBURY REGIONAL                          )
SCHOOL DISTRICT,                                  )              Civil Action
                                                  )              No. 1:16-CV-10724-FDS
                                  Plaintiff,      )
v.                                                )
                                                  )
MR.AND MRS. W.,                                   )
                                                  )
                                  Defendants      )
WALLIS and                                        )
MR. and MRS. W.,                                  )
                                                  )
                   Plaintiffs-in-Counterclaim     )
v.                                                )
                                                  )
LINCOLN-SUDBURY REGIONAL                          )
SCHOOL DISTRICT and                               )
                                                  )
BUREAU OF SPECIAL EDUCATION                       )
APPEALS,                                          )
          Defendants-in-Counterclaim. )


                              AFFIDAVIT OF JEFFREY M. SANKEY

           I, Jeffrey M. Sankey, upon oath, do depose and state as follows:

           1.      I am graduate of Boston University School of Law and was admitted to the

Massachusetts bar in 1987 and the Rhode Island bar in 1993. I am also a member of the bars of

the United States District Courts in Massachusetts and Rhode Island and the United States

Supreme Court.

           2.      I am a principal in the law firm, Sankey Law Offices, P.C., with an office at 25

Braintree Hill Park, Suite 200 in Braintree, Massachusetts. A significant portion of my practice

has been in the area of special education law, primarily representing students in disputes with




981332vl
           Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 89 of 96

                Case 1:16-cv-10724-FDS Document 63 Filed 06/06/17 Page 2 of 3



school districts since 2000. To a lesser extent, I have occasionally represented school districts in

special education matters.

           3.      This affidavit is submitted in reference to the fee petition submitted on behalf of

the school district by Attorney Doris MacKenzie Ehrens in the matter of Lincoln Sudbury

Regional School District v. Mr. and Mrs. W., United States District Court Civil Action No. 16-

CV-l 0724FDS and In Re. Lincoln Sudbury Regional School District, 15-2427.

           5.      I am familiar with Attorney Ehren's experience and reputation as an attorney in

the area of special education law. I am also familiar with the hourly rates customarily charged

by attorneys of Attorney Ehrens' experience in the community.

           6.      Based upon my knowledge of Attorney Ehrens' experience and reputation, and

my knowledge of the customary hourly rates charged in this community, I believe that hourly

rates of $225 to $300 per hour are within the range of fees customarily charged by attorneys

practicing in the area of special education, and it is my opinion that her rate of $225.00 and the

rate of the other attorneys in her firm who also participated to a lesser extent in the defense of

these cases at between $225 and $245 per hour is fair and reasonable and is representative of the

rates prevailing in the community.

           Signed under the pains and penalties of perjury this t 71ay of March 2017.




                                                   -2-

981332v]
       Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 90 of 96
           Case 1:16-cv-10724-FDS        Document 63     Filed 06/06/17    Page 3 of 3




                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 6th day of June, 2017, I served a copy of the
foregoing electronically through the CM/ECF system on all counsel of record for the parties.



                                      /s/ Doris R. MacKenzie Ehrens
                                          Doris R. MacKenzie Ehrens




                                             -3-
981332vl
      Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 91 of 96

                Case 1:16-cv-10724-FDS Document 64 Filed 06/06/17 Page 1 of 2




                               UNITED ST ATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

                                                  )
 UNCOLN-SUDBURY REGIONAL                          )
 SCHOOL DISTRICT,                                 )              Civil Action
                                                  )              No. 1: 16-CV-I 0724-FDS
                                   Plaintiff,     )
 V.                                               )
                                                  )
 MR. AND MRS. W.,                                 )
                                                  )
                                  Defendants      )
WALLIS and                                        )
MR. and MRS. W.,                                  )
                                                  )
                   Plaintiffs-in-Counterclaim     )
V.                                                )
                                                  )
LINCOLN-SUDBURY REGIONAL                          )
SCHOOL DISTRICT and                               )
                                                  )
BUREAU OF SPECIAL EDUCATION           )
APPEALS,                              )
          Defendants-in-Counterclaim. )


 AFFIDAVIT OF MICHAEL J. JOYCE, ESQ. IN SUPPORT OF LINCOLN-SUDBURY
                   REGIONAL SCHOOL DISTRICT'S
       MOTION FOR SUMMARY JUDGMENT FOR ATTORNEYS' FEES

           Michael J. Joyce, being first duly sworn, state of my own personal knowledge:

           1.      Affiant has been a licensed attorney in Massachusetts since 2002.

           2.      Affiant is a partner in the firm of Nuttall, MacAvoy & Joyce, P.C ..

           3.      Affiant has, since December of 2010, engaged in legal practice primarily focused

on the representation of public school districts, including special education litigation.

           4.      Affiant is familiar with the fees customarily charged by counsel in the

representation of school districts in special education disputes, including reasonable fees charged

by counsel for public school districts.



989816vl
      Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 92 of 96

                Case 1:16-cv-10724-FDS       Document 64 Filed 06/06/17 Page 2 of 2




           5.       In the affiant's experience, the range of reasonable attorney fees customarily

charged by counsel representing public school districts in eastern Massachusetts ranges from

$165 to $245 per hour.

           6.       I am familiar with Attorney Ehrens' experience and reputation as an attorney in

the area of special education.

           7.       Based upon my familiarity with Attorney Ehrens' experience and reputation and

my familiarity with the customary hourly rates charged in the community, it is my opinion that

Attorney Ehrens' hourly rate of $225 per hour and the rates of the other attorneys in her firm

who also participated to a lesser extent in defending the school district in this matter of between

$225 and $245 per hour are fair and reasonable and representative of rates prevailing in the

community.

           SIGNED under the pains and penalties of perjury at Marshfield, Massachusetts this 24th

day of May, 2017.




                                                  Mic~~




                                    CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 6th day of June, 2017, I served a copy of the
foregoing on John N. Morrissey, counsel for Mr. and Mrs. W. and Wallis, electronically through
the CMIECF system.



                                           Isl Doris R. MacKenzie Ehrens
                                               Doris R. MacKenzie Ehrens




989816vl
     Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 93 of 96
           Case 1:16-cv-10724-FDS       Document 65      Filed 06/06/17   Page 1 of 4




                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                )
 LINCOLN-SUDBURY REGIONAL                       )
 SCHOOL DISTRICT,                               )              Civil Action
                                                )              No. l:16-CV-10724-FDS
                                 Plaintiff,     )
V.                                              )
                                                )
MR. AND MRS. W.,                                )
                                                )
                                 Defendants     )
WALLIS and                                      )
MR. and MRS. W.,                                )
                                                )
                  Plaintiffs-in-Counterclaim    )
V.                                              )
                                                )
LINCOLN-SUDBURY REGIONAL              )
SCHOOL DISTRICT and                   )
                                      )
BUREAU OF SPECIAL EDUCATION           )
APPEALS,                              )
          Defendants-in-Counterclaim. )


     AFFIDAVIT OF ATTORNEY MARY ELLEN SOWYRDA IN SUPPORT OF
           LINCOLN-SUDBURY REGIONAL SCHOOL DISTRICT'S
        MOTION FOR SUMMARY JUDGMENT FOR ATTORNEYS' FEES

           Mary Ellen Sowyrda, being first duly sworn, state of my own personal

knowledge:

           l.     I have been actively engaged in the practice of law since 1986 and have

been practicing special education law in Massachusetts for thirty-one (31) years. I am a

partner at Murphy, Hesse, Toomey & Lehane, LLP, and the head of the firm's special

education practice, representing schools and/or school districts at the Bureau of Special
                                                               I

Education Appeals (BSEA) and in court. Murphy, Hesse, Toomey & Lehane, LLP

represents approximately 140 public school districts, regional school districts,



981333vl
   Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 94 of 96
           Case 1:16-cv-10724-FDS      Document 65       Filed 06/06/17     Page 2 of 4




 collaboratives, charter schools, agricultural/ vocational/technical schools, and private

 schools across the Commonwealth, in special education matters, as well as general

 education matters. I have been involved in litigation with pro se individuals on a number

of occasions. Litigating with pro se individuals generally requires substantially more

time than litigating with parties who are represented by counsel.

           2.    I first became involved with representing Lincoln-Sudbury Regional

School District (Lincoln-Sudbury) concerning matters related to Mr. and Mrs. W. and

Wallis on or about August, 2013 when I reviewed Mr. and Mrs. W.'s request for records

from parents' attorney. Later, in January, 2014, the special education office at Lincoln-

Sudbury advised me of complaints filed by Mr. and Mrs. W. with the Department of

Public Health, Division of Health Professions Li censure, Office of Public Protection

(Board of Nursing) against Lincoln-Sudbury's three school nurses, because of alleged

failures to comply with head injury/concussion regulations. Later, I also became aware

of Mr. and Mrs. W.'s complaint filed with the Division of Professional Li censure, Office

of Prosecutions, against Lincoln-Sudbury' s athletic trainer, also claiming alleged failures

to comply with head injury/concussion regulations. I asked Attorney Doris R.

MacKenzie Ehrens (Attorney Ehrens) to assist Lincoln-Sudbury in responding to these

complaints.

           3.    In September, 2014, I learned of Mr. and Mrs. W. 's request for a due

process hearing at the BSEA (BSEA No. 1502427), the case out of which this proceeding

arises. I asked Attorney Ehrens to handle the BSEA matter because of her familiarity

with the incident giving rise to the hearing request as a result of her work responding to

the complaints filed against the school nurses and athletic trainer, her extensive litigation




981333vl                                    -2-
   Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 95 of 96
           Case 1:16-cv-10724-FDS      Document 65      Filed 06/06/17    Page 3 of 4




 experience, including her experience with matters involving prose litigants, and her

 experience litigating special education matters.

            4.    Attorneys' fees associated with Mr. and Mrs. W.'s requests for records,

 other than their discovery requests in BSEA No. 1502427, and their complaints against

 the school nurses and the athletic trainer are not included in the request for an award of

attorneys' fees which is the subject of Lincoln-Sudbury's complaint in this proceeding.

            5.   I am familiar with the extent of the filings in BSEA 1502427 and the need

to respond to allegations in Mr. and Mrs. W. 's filings. I am aware of the extensive time

involved in this case interviewing the many Lincoln-Sudbury administrators, teachers,

and staff in order to respond to the hearing request, to Mr. and Mrs. W. 's discovery, and

otherwise prepare the case for hearing, including lengthy conference calls with the

hearing officer, at least one of which exceed two hours, far exceeding the time normally

spent on such calls. I am aware that Mr. and Mrs. W. listed twenty (20) Lincoln-Sudbury

former and current administrators, teachers, and staff as hearing witnesses and of the time

involved in preparing each of those witnesses for hearing.

           6.    Based upon my experience practicing special education law and my

knowledge of Attorney Ehrens' experience and reputation, it is my opinion that the time

spent by Attorney Ehrens on the Bureau of Special Education Appeals' case was not only

reasonable under the circumstances of this case and Mr. and Mrs. W. 's hostility toward

Lincoln-Sudbury and its staff and Attorney Ehrens as reflected in Mrs. W's prolific

filings, but also necessary to properly defend Lincoln-Sudbury from the hearing request's

numerous claims.




981333v)
                                             -3 -
   Case 1:16-cv-10724-FDS Document 84-2 Filed 03/29/18 Page 96 of 96

           Case 1:16-cv-10724-FDS Document 65            Filed 06/06/17 Page 4 of 4



           7.     I am also aware of the extent of the additional documentation with which

Mr. and Mrs. W. sought to supplement the record, as well as the issues raised on appeal

and it is my opinion that the time spent by Attorney Ehrens to date on this case is also

reasonable.

           8.     Based upon my experience practicing special education law in

Massachusetts, and my familiarity with the rates charged by Murphy, Hesse, Toomey &

Lehane, LLP, to its other special education clients and by other attorneys representing

school districts in special education matters, it is my opinion that the hourly rates of

$225-$245 per hour charged by the firm in this matter are fair and reasonable and

consistent with the rates prevailing in the community.

           SIGNED under the pains and penalties of perjury at Quincy, Massachusetts this

5th day of June, 2017.




                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 6th day of June, 2017, I served a copy of the
foregoing electronically through the CM/ECF system on all counsel of record for the
parties.



                                        /s/ Doris R. MacKenzie Ehrens
                                            Doris R. MacKenzie Ehrens




981333v)                                    -4-
